2:22-cv-00546-DCN   Date Filed 03/30/22   Entry Number 11-11   Page 1 of 73




                               EXHIBIT 10
2:22-cv-00546-DCN                     Date Filed 03/30/22               Entry Number 11-11   Page 2 of 73




From:                   Nathan Richards
To:                     Heidi Dillard; Andrew Stiles
Cc:                     Mark A. Berman; Kim Daniel
Subject:                Re: A. Stiles - Stock Option Grant Documents
Date:                   Tuesday, December 14, 2021 5:25:31 PM
Attachments:            image001.onq
                        image002.onq
                        image003.onq
                        image005.onq
                        image006.onq
                        imacie007,onq
                        image008.onq
                        image009,onq
                        image010.onq
                        image011,ong
                        image012.onq
                        Nov 2020 - Amended and Restated - Stock Ootion-Stiles.DOCX


H i Andrew,

Attached is the paperwork that details out the original vesting date for execution. By my records,
there are 31,250 shares that are vested and available for exercise under this agreement at $5.41 per
share, for a total of $169,062.50. Payment can be made by wire using the instructions below.

Bank Name:    JPMorgan Chase
Account Name: Phlow Corp
Routing No:   021000021
Account No:    716161218

Best,
Nathan



Nathan Richards




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         100
                      We're Great Places to Work Certified!
2:22-cv-00546-DCN            Date Filed 03/30/22        Entry Number 11-11            Page 3 of 73




From: Heidi Di l lard <hdillard@phlow-usa.com>
Date: Monday, December 13, 2021 at 9:19 AM
To: Andrew Stiles <jandrew.stiles@gmail.com>
Cc: Nathan Richards <nrichards@phlow-usa.com>,"Mark A. Berman"
<mberman@ganfershore.com>, Kim Daniel <kdaniel@hancockdaniel.com>
Subject: Re: A. Stiles - Stock Option Grant Documents

Andrew,

Thank you so much for your note. We apologize for the slightly delayed response; we were dealing
with other important matters and our board meeting last week.

First and foremost, we do not dispute your time at Phlow nor your stock option grant. Our stance is
that we never received your signed paperwork—did you send it? I also do not believe Nathan
"forgot" to send you documents. As you know from your work with him during the past 19 months,
he is incredibly contentious. I'll circle up with Nathan to discuss updated documents and revert in a
timely manner (as you know, we utilize outside counsel for these tasks). We'll also provide any
necessary payment (probably by wire) instructions, if necessary.

As you know, given our limited staff resources, we need to prioritize our work accordingly. Since, as
you mention, you are still a Phlow employee, we didn't deem your email correspondence as URGENT
a nd CRITICAL to warrant an IMMEDIATE response. Given your experience and government
contracting expertise, l-know-you understand-that-we-needed -to deal with-other-critic-al vendorand
board materials. Unlike when we prioritized getting your daughter enrolled in healthcare after you
missed the enrollment deadline (we dropped everything else to make sure we could get her
coverage).

Have a great day!

Best,

Heidi


From: Andrew Stiles <jandrew.stiles@gmail.com>
Date: Monday, December 13, 2021 at 7:57 AM
To: Heidi Dillard <hdillard@phlow-usa.com>
Cc: Nathan Richards <nrichards@phlow-usa.com>, Mark A. Berman
<mberman@ganfershore.com>, Kim Daniel <kdaniel@hancockdaniel.com>
Subject: Re: A. Stiles - Stock Option Grant Documents
2:22-cv-00546-DCN               Date Filed 03/30/22            Entry Number 11-11                Page 4 of 73




   CAUTION: This email originated from outside of the organization. Do not follow guidance, click links, or open
                               attachments unless you know the content is safe.

Heidi/Nathan,

If yall sent any needed documents on Friday, I did not receive them. Please advise. As of today,
December 13, 2021, I am still a Phlow employee. Nathan has worked with all other employees to
handle any needed administrative paperwork for the stock option plans. I am sure it is not your
intent to show me disparate treatment.

Thanks,
Andrew

On Thu, Dec 9, 2021 at 2:32 PM Andrew Stiles <ja ndrew.stilesPgmail.com> wrote:
  Heidi,

  I do not understand how or why this has become problematic. I did not agree to the "alternate"
  vesting schedule...so the original vesting schedule should be in place. The original stock option
  plan had 25% vesting on 9/1/20 and then 6.25% every quarter thereafter. If Nathan should have
  sent me a new set of documents then I guess he forgot. That is ok, just send them over now and I
  will sign. Or is it Phlow's position that I have no vested stock options despite 19+ months of
  service time?

  Thanks,
  Andrew

  On Thu, Dec 9, 2021 at 12:56 PM Heidi Dillard <hd il lard@oh low-usa.com> wrote:
    Andrew,

    Thank you for your note. While it is accurate you called Nathan the next week after his August
    13 email to you, it was not clear to him that you wanted the "alternate" vesting nor does he
    recall telling you to not sign the Amended and Restated version. If those things occurred,
    Nathan would have delivered a new set of documents to you to execute (which is how he was
    handling the process). In addition, there is no record of you following up for additional
    documents. However, if you will please provide any documents or correspondence where you
    followed up with Nathan on this matter, I will be glad to review the same. We also certainly can
    search through your email correspondence as well.

    Best,

    Heidi



    From: Andrew Stiles <jand rew.sti lesPgma i l.com>
2:22-cv-00546-DCN         Date Filed 03/30/22        Entry Number 11-11           Page 5 of 73




   Date: Wednesday, December 8, 2021 at 4:00 PM
   To: Nathan Richards <nrichardsPph low-usa.com>
   Cc: Heidi Dillard <hd i l lardPph low-usa.com>, Mark A. Berman
   <m berma nPganfershore.com>, Kim Daniel <kda n ielPha ncockda n iel.com>
   Subject: Re: A. Stiles - Stock Option Grant Documents

    CAUTION: This email originated from outside of the organization. Do not follow guidance, click
                  links, or open attachments unless you know the content is safe.

   H i Nathan & Heidi,

   Nathan sent the attached email on August 13, 2021 which included the Amended and Restated
   Notice ofStock Option Grant and highlighted the "alternate" vesting schedule which
   pushed the first vesting tranche back to January 1, 2022 from the original planned date of
   September 1, 2021. Per Nathan's request in the email, I called him the following week to
   discuss the "alternate" vesting schedule. On that call, I made it clear I did not want the
   "alternate" vesting schedule , and instead, wanted to keep the planned vesting schedule from
   the original agreement with the first 25% tranche vesting September 1, 2021. As such, Nathan
   told me not to sign the Amended and Restated version sent August 13 which is why I did not
   return it with signature.

   Please advise.

   Thanks,
   Andrew

   On Wed, Dec 8, 2021 at 1:06 PM Nathan Richards <n richa rdsP ph low-usa.com> wrote:
     All,

     Attached is copy of the grant that was provided on 13 August 2021. No email response or
     signature was received.

     Best,
     Nathan


     Nathan Richards
     - _




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2:22-cv-00546-DCN               Date Filed 03/30/22     Entry Number 11-11        Page 6 of 73




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      Great
      Place               We're Great Place to Work Certified TM!
      To
      Work.               Click here to learn what makes our company culture great.
      Certified
      NOV 2020-NOV 2021
            USA




     From: Heidi Dillard <hd i l lardPph low-usa.com>
     Date: Wednesday, December 8, 2021 at 11:45 AM
     To: Nathan Richards <n richardsPph low-usa,com>
     Cc: Andrew Stiles <jand rew.sti les(@gmai l.com>,"Mark A. Berman"
     <m bermanPganfershore.com>, Kim Daniel <kda n ielPhancockda n iel.co m>
     Subject: A. Stiles - Stock Option Grant Documents

     N athan,


     Good morning! Per our conversation, please send Andrew his Stock Option Grant that you
     provided to him on 13 August 2021. As you know, Andrew didn't respond to your email, nor
     did he sign the documents. Once he executes the document, I will be prepared to
     countersign.

     Please let me know if you have any questions or concerns.

     Best,


     Heidi

     Heidi Dillard
     Chief Human Resources Officer
     Phlow Corporation

     804.774.0344 (m)



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2:22-cv-00546-DCN              Date Filed 03/30/22     Entry Number 11-11        Page 7 of 73




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      Place              We're Great Place to Work CertifiedTM!
      To
      Work               Click here to learn what makes our company culture great.
      Certified
        2028- 008 2071
 2:22-cv-00546-DCN        Date Filed 03/30/22        Entry Number 11-11        Page 8 of 73




                                        PHLOW CORP.

                                   2020 STOCK OPTION PLAN

                                 AMENDED AND RESTATED

                           NOTICE OF STOCK OPTION GRANT

Andrew Stiles
95 Gordon St.
Charleston, SC 29403

        You have been granted an option to purchase Common Stock ofPHLOW CORP., a Delaware
public benefit corporation (the"Company" ) , as follows:

       Date of Grant:                November 2, 2020
       Exercise Price Per Share:     $5.41, subject to Section 5(b) of the Stock Option Agreement*
                                     * You and the Company previously acknowledged that the Fair
                                     Market Value on the Date of Grant was determined by the Board
                                     using a reasonable application of a reasonable valuation
                                     method, and that the Board intended to obtain a third-party
                                     valuation of the Common Stock, valued as of the Date of Grant
                                     for purposes of Code section 409A (the "409A Valuation"     ).
                                     You and the Company agreed that, if the 409A valuation
                                     differed from the Fair Market Value as determined by the
                                     Board, the Company may require that this Agreement be
                                     amended to adjust the Exercise Price Per Share to reflect such
                                     valuation, and in such case, such amendment shall be effective
                                     immediately upon its presentation to you, and you shall be
                                     deemed a party to and bound by such amendment regardless
                                     whether you execute such amendment. This document is to
                                     inform you that 409A Valuation differed from the Fair Market
                                     Value as determined by the Board. Accordingly, the Company
                                     is providing you with an amended Agreement with the updated
                                     exercise price per share.
       Total Number of Shares:       100,000
       Total Exercise Price:         $541,000
2:22-cv-00546-DCN       Date Filed 03/30/22     Entry Number 11-11          Page 9 of 73




     Type of Option:           55,452 Shares Incentive Stock Option**
                               44,548 Shares Nonstatutory Stock Option**
                               **maximum number of Shares granted as Incentive Stock
                               Option as permitted under Code section 422, given Exercise
                               Price Per Share, Vesting/Exercise Schedule, and any other
                               Incentive Stock Options you have been granted; remainder
                               Nonstatutory Stock Option.


     Expiration Date:          November 2, 2030
     Vesting Commencement      September 1, 2020
     Date:
     Vesting/Exercise          So long as your Continuous Service Status does not terminate
     Schedule:                (and provided that no vesting shall occur following the
                               Termination Date (as defined in Section 5 of the Stock Option
                               Agreement)), this Option shall vest and become exercisable in
                               accordance with the following schedule: this Option shall vest
                               and become exercisable with respect to twenty-five percent
                              (25%) of the Total Number of Shares on September 1, 2021,
                               and with respect to six and 25/100 percent (6.25%) the Total
                               Number of Shares on the first day of each calendar quarter
                               thereafter.
                               Notwithstanding the above, if a Corporate Transaction occurs
                               pursuant to which this Option is to be terminated (in whole or
                               in part), the vesting and exercisability of this Option shall
                               accelerate such that this Option shall become vested and
                               exercisable in full prior to the consummation of the Corporate
                               Transaction at such time and on such conditions as the
                               Company shall determine. The Company shall notify Optionee
                               that this Option will terminate at least 5 days prior to the date
                               on which this Option terminates.
                               In addition, if you are party to an employment agreement or
                               other services agreement with the Company or a Subsidiary or
                               an Affiliate that provides for accelerated vesting of this Option,
                               accelerated vesting ofthis Option shall occur in accordance with
                               such agreement.
     Termination Period:       You may exercise this Option for one hundred twenty (120)
                               days after the Termination Date except as set out in Section 5 of
                               the Stock Option Agreement (but in no event later than the
                               Expiration Date). You are responsible for keeping track ofthese
                               exercise periods following the Termination Date. The
                               Company will not provide further notice of such periods.




                                        -2-
2:22-cv-00546-DCN        Date Filed 03/30/22    Entry Number 11-11          Page 10 of 73




      Transferability:           You may not transfer this Option except as set forth in Section 6
                                 of the Stock Option Agreement.

                               [Signature Page Follows]




                                          -3-
2:22-cv-00546-DCN           Date Filed 03/30/22        Entry Number 11-11          Page 11 of 73




        By your signature and the signature ofthe Company's representative or by accepting this grant,
you and the Company agree that this Option is granted under and governed by the terms and conditions
of this Notice and the 2020 Stock Option Plan and Option Agreement, both of which are attached to
and made a part of this Notice.

        In addition, you agree and acknowledge that your rights to any Shares underlying this Option
will vest only as you provide services to the Company over time, that the grant ofthis Option is not as
consideration for services you rendered to the Company prior to your date of hire, and that nothing in
this Notice or the attached documents confers upon you any right to continue your employment or
consulting relationship with the Company for any period of time, nor does it interfere in any way with
your right or the Company's right to terminate that relationship at any time, for any reason, with or
without cause, subject to Applicable Laws. Also, to the extent applicable, the Exercise Price Per Share
has been set in good faith compliance with the applicable guidance issued by the IRS under
Section 409A of the Code. However, there is no guarantee that the IRS will agree with the valuation,
and by signing below, you agree and acknowledge that the Company, its Board, officers, employees,
agents and stockholders shall not be held liable for any applicable costs, taxes, or penalties associated
with this Option if, in fact, the IRS or any other person (including, without limitation, a successor
corporation or an acquirer in a Change of Control or a Corporate Transaction) were to determine that
this Option constitutes deferred compensation under Section 409A of the Code. You should consult
with your own tax advisor concerning the tax consequences of such a determination by the IRS. For
purposes of this paragraph, the term "Company" will be interpreted to include any Parent, Subsidiary
or Affiliate.

                                                      THE COMPANY:

                                                      PHLOW CORP.

                                                      By:
                                                                      (Signature)

                                                      Name:
                                                      Title:

                                                      OPTIONEE:


                                                      ANDREW STILES


                                                      (Signature)

                                                      Address:

                                                      95 Gordon St.
                                                      Charleston, SC 29403




                                                -4-
 2:22-cv-00546-DCN             Date Filed 03/30/22      Entry Number 11-11         Page 12 of 73




                                          PHLOW CORP.

                                   2020 STOCK OPTION PLAN

                                      OPTION AGREEMENT


         1.     Grant of Option. PHLOW CORP., a Delaware public benefit corporation (the
"Company"), hereby grants to the person(   "Optionee" )named in the Notice of Stock Option Grant
(the"Notice" ) , an option (the"Option")to purchase the total number of shares of Common Stock
(the"Shares"  )set forth in the Notice, at the exercise price per Share set forth in the Notice (the
"Exercise Price"  )subject to the terms, definitions and provisions of the 2020 PHLOW CORP.
 Stock Incentive Plan (the "Plan")adopted by the Company, which is incorporated in this Stock
 Option Agreement (this"Agreement"    )by reference. Unless otherwise defined in this Agreement,
 the terms used in this Agreement or the Notice shall have the meanings defined in the Plan.

         2.      Designation of Option. This Option is intended to be an Incentive Stock Option
 as defined in Section 422 of the Code only to the extent so designated in the Notice, and to the
 extent it is not so designated or to the extent this Option does not qualify as an Incentive Stock
 Option, it is intended to be a Nonstatutory Stock Option.

        Notwithstanding the above, if designated as an Incentive Stock Option, in the event that
the Shares subject to this Option (and all other incentive stock options granted to Optionee by the
Company or any Parent or Subsidiary, including under other plans) that first become exercisable
in any calendar year have an aggregate fair market value (determined for each Share as of the date
of grant ofthe option covering such Share) in excess of$100,000, the Shares in excess of$100,000
shall be treated as subject to a nonstatutory stock option, in accordance with Section 5(c) of the
Plan.

        3.      Exercise of Option. This Option shall be exercisable during its term in accordance
with the Vesting/Exercise Schedule set out in the Notice and with the provisions of Section 7(c)
of the Plan as follows:

              (a)      Right to Exercise.

                      (i)        This Option may not be exercised for a fraction of a share.

                       (ii)    In the event of Optionee's death, Disability or other termination of
Continuous Service Status, the exercisability of this Option is governed by Section 5 below,
subject to the limitations contained in this Section 3.

                       (iii)     In no event may this Option be exercised after the Expiration Date
set forth in the Notice.

              (b)      Method of Exercise.

                   (i)      This Option shall be exercisable by execution and delivery of the
Exercise Agreement attached hereto as Exhibit A or of any other form of written notice approved
2:22-cv-00546-DCN           Date Filed 03/30/22       Entry Number 11-11          Page 13 of 73




for such purpose by the Company which shall state Optionee's election to exercise this Option, the
number of Shares in respect of which this Option is being exercised, and such other representations
and agreements as to the holder's investment intent with respect to such Shares as may be required
by the Company pursuant to the provisions of the Plan. Such written notice shall be signed by
Optionee and shall be delivered to the Company by such means as are determined by the Company
in its discretion to constitute adequate delivery. The written notice shall be accompanied by
payment of the aggregate Exercise Price for the purchased Shares.

                       (ii)     As a condition to the grant, vesting and exercise of this Option and
as further set forth in Section 9 of the Plan, Optionee hereby agrees to make adequate provision
for the satisfaction of(and will indemnify the Company and any Subsidiary or Affiliate for) any
applicable taxes or tax withholdings, social contributions, required deductions, or other payments,
if any(  "Tax-Related Items"  ), which arise upon the grant, vesting or exercise of this Option,
disposition of Shares, receipt of dividends, if any, or otherwise in connection with this Option or
the Shares, whether by withholding, direct payment to the Company, or otherwise as determined
by the Company in its sole discretion. Regardless of any action the Company or any Subsidiary
or Affiliate takes with respect to any or all applicable Tax-Related Items, Optionee acknowledges
and agrees that the ultimate liability for all Tax-Related Items is and remains Optionee's
responsibility and may exceed any amount actually withheld by the Company or any Subsidiary
or Affiliate. Optionee further acknowledges and agrees that Optionee is solely responsible for
filing all relevant documentation that may be required in relation to this Option or any Tax-Related
Items other than filings or documentation that is the specific obligation of the Company or any
Subsidiary or Affiliate pursuant to Applicable Law,such as but not limited to personal income tax
returns or reporting statements in relation to the grant, vesting or exercise of this Option, the
holding of Shares or any bank or brokerage account, the subsequent sale of Shares, and the receipt
of any dividends. Optionee further acknowledges that the Company makes no representations or
undertakings regarding the treatment of any Tax-Related Items and does not commit to and is
under no obligation to structure the terms or any aspect of the Option to reduce or eliminate
Optionee's liability for Tax-Related Items or achieve any particular tax result. Further, if Optionee
has become subject to tax in more than one jurisdiction, Optionee acknowledges that the Company
or any Subsidiary or Affiliate may be required to withhold or account for Tax-Related Items in
more than one jurisdiction.

                       (iii) The Company is not obligated, and will have no liability for failure,
to issue or deliver any Shares upon exercise of this Option unless such issuance or delivery would
comply with the Applicable Laws, with such compliance determined by the Company in
consultation with its legal counsel. Furthermore, Optionee understands that the Applicable Laws
of the country in which Optionee is residing or working at the time of grant, vesting, and/or
exercise of this Option (including any rules or regulations governing securities, foreign exchange,
tax, labor or other matters) may restrict or prevent exercise of this Option. This Option may not
be exercised until such time as the Plan has been approved by the holders of capital stock of the
Company, or if the issuance of such Shares upon such exercise or the method of payment of
consideration for such Shares would constitute a violation of any Applicable Laws, including any
applicable U.S. federal or state securities laws or any other law or regulation, including any rule
under Part 221 of Title 12 of the Code of Federal Regulations as promulgated by the Federal
Reserve Board. As a condition to the exercise of this Option, the Company may require Optionee
to make any representation and warranty to the Company as may be required by the Applicable


                                                -2-
2:22-cv-00546-DCN           Date Filed 03/30/22       Entry Number 11-11          Page 14 of 73




Laws. Assuming such compliance, for income tax purposes the Shares shall be considered
transferred to Optionee on the date on which this Option is exercised with respect to such Shares.

                      (iv) Subject to compliance with Applicable Laws, this Option shall be
deemed to be exercised upon receipt by the Company of the appropriate written notice of exercise
accompanied by the Exercise Price and the satisfaction of any applicable obligations described in
Section 3(b)(ii) above.

       4.      Method of Payment. Payment of the Exercise Price shall be by cash or check or,
following the initial public offering of the Company's Common Stock, by Cashless Exercise
pursuant to which the Optionee delivers an irrevocable direction to a securities broker (on a form
prescribed by the Company and according to a procedure established by the Company), or by such
other methods allowed by the Plan if permitted in the Company's sole discretion.

        Optionee understands and agrees that, if required by the Company to comply with
Applicable Laws, any cross-border cash remittance made to exercise this Option or transfer
proceeds received upon the sale of Shares must be made through a locally authorized financial
institution or registered foreign exchange agency and may require Optionee to provide to such
entity certain information regarding the transaction. Moreover, Optionee understands and agrees
that the future value of the underlying Shares is unknown and cannot be predicted with certainty
and may decrease in value, even below the Exercise Price. Optionee understands that neither the
Company nor any Subsidiary or Affiliate is responsible for any foreign exchange fluctuation
between local currency and the United States Dollar or the selection by the Company or any
Subsidiary or Affiliate in its sole discretion of an applicable foreign currency exchange rate that
may affect the value ofthe Option (or the calculation of income or Tax-Related Items thereunder).

       5.      Termination of Relationship. Following the date of termination of Optionee's
Continuous Service Status for any reason (the"Termination Date"      ), Optionee may exercise this
Option only as set forth in the Notice and this Section 5. If Optionee does not exercise this Option
within the Termination Period set forth in the Notice or the termination periods set forth below,
this Option shall terminate in its entirety. In no event, may any Option be exercised after the
Expiration Date of this Option as set forth in the Notice. For the avoidance of doubt and for
purposes of this Option only, termination of Continuous Service Status and the Termination Date
will be deemed to occur as of the date Optionee is no longer actively providing services as an
Employee or Consultant (except to the extent Optionee is on a Company approved leave of
absence) and will not be extended by any notice period or "garden leave" that is required
contractually or under Applicable Laws.

               (a)     Termination for Good Reason or Not for Cause. In the event of
termination of Optionee's Continuous Service Status for Good Reason (as defined below) or by
the Company not for Cause the Option shall become fully vested on the Optionee's Termination
Date and this Option may be exercised by the Optionee within one hundred twenty (120) days
after the date on which the Optionee's Continuous Service terminated, but in any event no later
than the Option Expiration Date. If the Optionee is a party to an employment, Change of Control,
or other service agreement with the Company or a Subsidiary or Affiliate and such agreement
provides for a definition of Good Reason, the definition contained in the agreement shall apply
for purposes of this Section 5(a). In all other cases, Good Reason shall mean:


                                                -3-
 2:22-cv-00546-DCN           Date Filed 03/30/22        Entry Number 11-11           Page 15 of 73




                    (i) a material diminution in Optionee's authority, duties, or responsibilities; or

                  (ii) a material reduction of Optionee's base salary, as the same may have been
 increased from time to time, other than a percentage reduction applicable generally to all or a
 significant number of the Company's employees;

 provided that, in the case of either (i) or (ii), Good Reason shall not be deemed to exist unless the
 circumstances alleged to constitute Good Reason are not remedied by the Company within thirty
(60) days of its receipt of a written notice from the Optionee describing the applicable
 circumstances (which notice must be provided by the Optionee within ninety (90) days of the
 initial occurrence of the applicable circumstances).

                 (b)      Termination By Employee Without Good Reason. In the event that the
 Optionee decides to terminate his Continuous Service Status without Good Reason, Optionee may,
 but only within sixty (60) days following the Termination Date, exercise this Option to the extent
 Optionee had become vested in the Optioned Stock as of the Termination Date. In such event, the
 vested portion of this Option will be exercisable at an increased exercise price equal to the average
 of: (i) the price per share of Common Stock in the most recent offering of Common Stock to one
 or more investors, as determined by the Company; and (ii) the price per share of Common Stock
 under the most recent valuation conducted for purposes of Code section 409A, provided such
 valuation is as of a date no more than 12 months prior to the Termination Date. Notwithstanding
 the preceding sentence, the exercise price shall in no event be less than the exercise price per Share
 set forth in the Notice (as adjusted, if applicable, under Section 9 of the Plan). The Option, to the
 extent unvested on the Termination Date, shall lapse.

              (c)     Termination upon Disability of Optionee. In the event of termination of
Optionee's Continuous Service Status as a result of Optionee's Disability (or, if Optionee is party
to an employment agreement with the Company or a Subsidiary of Affiliate, Optionee's
"disability" as defined in such employment agreement), Optionee may, but only within one
hundred twenty (120) days following the Termination Date, exercise this Option to the extent
Optionee had become vested in the Optioned Stock as of the Termination Date.

               (d)     Death of Optionee. In the event of termination of Optionee's Continuous
Service Status as a result of Optionee's death, or in the event of Optionee's death within 3 months
following Optionee's Termination Date, this Option may be exercised at any time within 12
months following the Termination Date, or if later, one hundred twenty (120) days following the
date of death by any beneficiaries designated in accordance with Section 15 of the Plan or, if there
are no such beneficiaries, by the Optionee's estate, or by a person who acquired the right to
exercise the Option by bequest or inheritance, but only to the extent Optionee had become vested
in the Optioned Stock as ofthe Termination Date.

              (e)     Termination for Cause. In the event of termination of Optionee's
 Continuous Service Status for Cause, this Option (including any vested portion thereof) shall
 immediately terminate in its entirety upon notification to Optionee of such termination for Cause.
 If Optionee's Continuous Service Status is suspended pending an investigation of whether
 Optionee's Continuous Service Status will be terminated for Cause, all Optionee's rights under


                                                  -4-
2:22-cv-00546-DCN           Date Filed 03/30/22        Entry Number 11-11          Page 16 of 73




this Option, including the right to exercise this Option, shall be suspended during the investigation
period.

       6.      Non-Transferability of Option; Stockholders Agreement.

      (a)     This Option may not be transferred in any manner otherwise than by will or by the
laws of descent or distribution and may be exercised during the lifetime of Optionee only by him
or her. The terms of this Option shall be binding upon the executors, administrators, heirs,
successors and assigns of Optionee.

       (b)       As a condition precedent to entering into this Agreement, at the request of the
Company, Optionee shall become a party to any stockholders agreement to which the Company is
a party at the time of Optionee's execution and delivery ofthis Agreement, or to which the holders
of at least 50% of the outstanding shares of Common Stock may become parties after Optionee's
execution and delivery of this Agreement, in each case as such stockholders agreement may be
amended from time to time (the"Stockholders Agreement"     ) , by executing an adoption agreement
or counterpart signature page agreeing to be bound by and subject to the terms of the Stockholders
Agreement as a "Stockholder," if and as such term may be defined in the Stockholders Agreement.

        7.      Lock-Up Agreement. If so requested by the Company or the underwriters in
connection with the initial public offering of the Company's securities registered under the
Securities Act of 1933, as amended, Optionee shall not sell, make any short sale of, loan, grant
any option for the purchase of, or otherwise dispose of any securities of the Company however or
whenever acquired (except for those being registered) without the prior written consent of the
Company or such underwriters, as the case may be, for 180 days from the effective date of the
registration statement, plus such additional period, to the extent required by FINRA rules, up to a
maximum of 216 days from the effective date of the registration statement, and Optionee shall
execute an agreement reflecting the foregoing as may be requested by the underwriters at the time
of such offering.

       8.      Effect of Agreement. Optionee acknowledges receipt of a copy of the Plan and
represents that he or she is familiar with the terms and provisions thereof (and has had an
opportunity to consult counsel regarding the Option terms), and hereby accepts this Option and
agrees to be bound by its contractual terms as set forth herein and in the Plan. Optionee hereby
agrees to accept as binding, conclusive and final all decisions and interpretations of the
Administrator regarding any questions relating to this Option. In the event of a conflict between
the terms and provisions ofthe Plan and the terms and provisions ofthe Notice and this Agreement,
the Plan terms and provisions shall prevail.

       9.       Im position of Other Requirements. The Company reserves the right to impose
other requirements on Optionee's participation in the Plan, on the Option and on any Award or
Shares acquired under the Plan, to the extent the Company determines it is necessary or advisable
in order to comply with Applicable Laws or facilitate the administration of the Plan. Optionee
agrees to sign any additional agreements or undertakings that may be necessary to accomplish the
foregoing. Furthermore, Optionee acknowledges that the laws of the country in which Optionee
is working at the time of grant, vesting and exercise of the Option or the sale of Shares received
pursuant to this Agreement (including any rules or regulations governing securities, foreign



                                                -5-
  2:22-cv-00546-DCN          Date Filed 03/30/22        Entry Number 11-11           Page 17 of 73




 exchange, tax, labor, or other matters) may subject Optionee to additional procedural or regulatory
 requirements that Optionee is and will be solely responsible for and must fulfill.

         10.      Electronic Delivery. The Company may, in its sole discretion, decide to deliver
 any documents related to Optionee's current or future participation in the Plan, this Option, the
 Shares subject to this Option, any other Company Securities or any other Company-related
 documents, by electronic means. Optionee hereby (i) consents to receive such documents by
 electronic means,(ii) consents to the use of electronic signatures, and (iii) if applicable, agrees to
 participate in the Plan and/or receive any such documents through an on-line or electronic system
 established and maintained by the Company or a third party designated by the Company. To the
 extent Optionee has been provided with a copy ofthis Agreement,the Plan, or any other documents
 relating to this Option in a language other than English, the English language documents will
 prevail in case of any ambiguities or divergences as a result of translation.

          1 1.    No Acq uired Rights. In accepting the Option, Optionee acknowledges that the
 Plan is established voluntarily by the Company, is discretionary in nature, and may be modified,
 amended, suspended or terminated by the Company at any time. The grant of the Option is
 voluntary and occasional and does not create any contractual or other right to receive future grants
 of Options, other Awards or benefits in lieu of Options, even if Options have been granted
 repeatedly in the past, and all decisions with respect to future grants of Options or other Awards,
 if any, will be at the sole discretion of the Company. In addition, Optionee's participation in the
 Plan is voluntary, and the Option and the Shares subject to the Option are extraordinary items that
 do not constitute regular compensation for services rendered to the Company or any Subsidiary or
 Affiliate and are outside the scope of Optionee's employment contract, if any. The Option and the
 Shares subject to the Option are not intended to replace any pension rights or compensation and
 are not part of normal or expected salary or compensation for any purpose, including but not
 limited to calculating severance payments, if any, upon termination.

          12.     Data Privacy. Optionee hereby explicitly and unambiguously consents to the
 collection, use and transfer, in electronic or other form, of Optionee's personal data (as
 described below) by and among, as applicable, the Company and any Subsidiary or Affiliatefor
 the exclusive purpose ofimplementing, administering, and managing Optionee's participation
 in the Plan. Optionee understands that refusal or withdrawal ofconsent may affect Optionee's
 ability to participate in the Plan or to realize benefitsfrom the Option.

        Optionee understands that the Company and any Subsidiary or Affiliate may hold
certain personal information about Optionee, including, but not limited to, Optionee's name,
home address and telephone number, date of birth, social insurance number or other
identification number, salary, nationality,job title, any shares ofstock or directorships held in
the Company or any Subsidiary or Affiliate, details of all Options or any other entitlement to
Shares awarded, canceled, exercised, vested, unvested or outstanding in Optionee's favor
(
"Personal Data"  ). Optionee understands that Personal Data may be transferred to any
Subsidiary or Affiliate or third parties assisting in the implementation, administration and
management ofthe Plan, that these recipients may be located in the United States, Optionee's
country, or elsewhere, and that the recipient's country may have different data privacy laws and
protections than Optionee's country.




                                                  -6-
2:22-cv-00546-DCN          Date Filed 03/30/22       Entry Number 11-11         Page 18 of 73




       13.     Miscellaneous.

              (a)       Governing Law.         The validity, interpretation, construction and
performance of this Agreement, and all acts and transactions pursuant hereto and the rights and
obligations of the parties hereto shall be governed, construed and interpreted in accordance with
the laws of the state of Delaware, without giving effect to principles of conflicts of law.

              (b)      Entire Agreement. This Agreement sets forth the entire agreement and
understanding of the parties relating to the subject matter herein and supersedes all prior or
contemporaneous discussions, understandings and agreements, whether oral or written, between
them relating to the subject matter hereof.

              (c)     Amendments and Waivers. No modification of or amendment to this
Agreement, nor any waiver of any rights under this Agreement, shall be effective unless in writing
signed by the parties to this Agreement. No delay or failure to require performance of any
provision of this Agreement shall constitute a waiver of that provision as to that or any other
instance.

               (d)      Successors and Assigns. Except as otherwise provided in this Agreement,
this Agreement, and the rights and obligations of the parties hereunder, will be binding upon and
inure to the benefit of their respective successors, assigns, heirs, executors, administrators and
legal representatives. The Company may assign any of its rights and obligations under this
Agreement. No other party to this Agreement may assign, whether voluntarily or by operation of
law, any of its rights and obligations under this Agreement, except with the prior written consent
of the Company.

               (e)      Notices. Any notice, demand or request required or permitted to be given
under this Agreement shall be in writing and shall be deemed sufficient when delivered personally
or by overnight courier or sent by email, or 48 hours after being deposited in the U.S. mail as
certified or registered mail with postage prepaid, addressed to the party to be notified at such
party's address as set forth on the signature page, as subsequently modified by written notice, or
if no address is specified on the signature page, at the most recent address set forth in the
Company's books and records.

              ()1      Severability. If one or more provisions of this Agreement are held to be
unenforceable under Applicable Laws,the parties agree to renegotiate such provision in good faith.
In the event that the parties cannot reach a mutually agreeable and enforceable replacement for
such provision, then (i) such provision shall be excluded from this Agreement,(ii) the balance of
the Agreement shall be interpreted as if such provision were so excluded and (iii) the balance of
the Agreement shall be enforceable in accordance with its terms.

              (g)      Construction. This Agreement is the result of negotiations between and
has been reviewed by each of the parties hereto and their respective counsel, if any; accordingly,
this Agreement shall be deemed to be the product of all of the parties hereto, and no ambiguity
shall be construed in favor of or against any one of the parties hereto.

              (h)      Counterparts. This Agreement may be executed in any number of
counterparts, each of which when so executed and delivered shall be deemed an original, and all


                                               -7-
2:22-cv-00546-DCN           Date Filed 03/30/22       Entry Number 11-11          Page 19 of 73




of which together shall constitute one and the same agreement. Execution of a facsimile copy will
have the same force and effect as execution of an original, and a facsimile signature will be deemed
an original and valid signature.




                                                -8-
 2:22-cv-00546-DCN           Date Filed 03/30/22       Entry Number 11-11          Page 20 of 73




                                            EXHIBIT A

                                         PHLOW CORP.

                                  2020 STOCK OPTION PLAN

                                   EXERCISE AGREEMENT


       This Exercise Agreement (this "Agreement"   )is made as of                  , by and
between PHLOW CORP., a Delaware public benefit corporation (the "Company"            ), and
                        ("Purchaser"  ). To the extent any capitalized terms used in this
Agreement are not defined, they shall have the meaning ascribed to them in the PHLOW CORP.
2020 Stock Option Plan (the"Plan" )and the Option Agreement(as defined below).

        1.      Exercise of Option. Subject to the terms and conditions hereof, Purchaser hereby
elects to exercise his or her option to purchase                   shares of the Common Stock (the
"Shares" )of the Company under and pursuant to the Plan, the Notice of Stock Option Grant and
the Stock Option Agreement granted                   (the"Option Agreement"    ). The purchase price
for the Shares shall be $                per Share for a total purchase price of $             . The
term "Shares" refers to the purchased Shares and all securities received in connection with the
Shares pursuant to stock dividends or splits, all securities received in replacement of the Shares in
a recapitalization, merger, reorganization, exchange or the like, and all new, substituted or
additional securities or other property to which Purchaser is entitled by reason of Purchaser's
ownership of the Shares.

       2.       Time and Place of Exercise. The purchase and sale of the Shares under this
Agreement shall occur at the principal office of the Company simultaneously with the execution
and delivery of this Agreement, the payment of the aggregate exercise price by any method listed
in Section 4 of the Option Agreement, and the satisfaction of any applicable tax, withholding,
required deductions or other payments, all in accordance with the provisions of Section 3(b)ofthe
Option Agreement. The Company shall issue the Shares to Purchaser by entering such Shares in
Purchaser's name as of such date in the books and records of the Company or, if applicable, a duly
authorized transfer agent of the Company, against payment of the exercise price therefor by
Purchaser. The Company will deliver to Purchaser a stock certificate or, in the case of
uncertificated securities upon request, a notice of issuance, for the Shares as soon as practicable
following such date.

        3.     Call Option. The Shares are subject to any and all limitations on transfer created
by the transfer restrictions set forth in the Stockholders Agreement and Applicable Law, and
Purchaser shall not assign, encumber or dispose of any interest in the Shares except in compliance
with the provisions thereof. In addition, subject to the terms of this Section, if the Optionee's
employment with the Company terminates or expires for any reason or without reason, the
Company shall have the option (the"Call Option"    ), but not the obligation, to purchase any or all
Shares that(x) are subject to purchase by Optionee pursuant to the Option Agreement on the date
of termination or expiration of Optionee's employment with the Company and are purchased after
such termination or expiration date or (y) were purchased at any time prior to the termination or
expiration of the Optionee's employment. The purchase price per share of the Call Option shall
 2:22-cv-00546-DCN            Date Filed 03/30/22        Entry Number 11-11          Page 21 of 73




 be the greater of(i) Fair Market Value as of termination of employment,(ii) the purchase price per
 Share set forth in Section 1 of this Agreement, and (iii) the exercise price per share set forth in the
 last incentive stock option, if any, issued by the Company during the three (3) month period
 immediately preceding termination of employment. The purchase price shall be payable in cash
 at closing. The Call Option shall be exercised by written notice by the Company to the Optionee
(the"Call Notice"    )within 90 days after the later of(i) the date of termination or expiration of
 Optionee's employment with the Company or (ii) the date of acquisition by the Optionee of Shares
 that is subject to the Call Option. The closing of the Call Option shall occur within 90 days after
 the date of the Call Notice and shall take place at the Company's principal office. If the Optionee
fails to deliver the Shares identified in the Call Notice duly endorsed for transfer to the Company
 at such closing, then all rights with respect to such Shares, including, without limitation, any right
 to vote or receive dividends with respect to such Shares, shall forthwith after such closing
 terminate, except only the right of the holder to receive the payment described above, without
 interest, upon surrender of their certificate or certificates therefor.

       4.      Investment and Taxation Representations. In connection with the purchase of
the Shares, Purchaser represents to the Company the following:

              (a)      Purchaser is aware of the Company's business affairs and financial
condition and has acquired sufficient information about the Company to reach an informed and
knowledgeable decision to acquire the Shares. Purchaser is purchasing the Shares for investment
for Purchaser's own account only and not with a view to, or for resale in connection with, any
"distribution" thereof within the meaning of the Securities Act or under any applicable provision
of state law. Purchaser does not have any present intention to transfer the Shares to any other
person or entity.

             (b)      Purchaser understands that the Shares have not been registered under the
Securities Act by reason of a specific exemption therefrom, which exemption depends upon,
among other things, the bona fide nature of Purchaser's investment intent as expressed herein.

              (c)      Purchaser further acknowledges and understands that the securities must be
held indefinitely unless they are subsequently registered under the Securities Act or an exemption
from such registration is available. Purchaser further acknowledges and understands that the
Company is under no obligation to register the securities.

               (d)       Purchaser is familiar with the provisions of Rule 144, promulgated under
the Securities Act, which, in substance, permits limited public resale of "restricted securities"
acquired, directly or indirectly, from the issuer ofthe securities(or from an affiliate of such issuer),
in a non-public offering subject to the satisfaction of certain conditions. Purchaser understands
that the Company provides no assurances as to whether he or she will be able to resell any or all
of the Shares pursuant to Rule 144, which rule requires, among other things, that the Company be
subject to the reporting requirements ofthe Exchange Act, that resales ofsecurities take place only
after the holder of the Shares has held the Shares for certain specified time periods, and under
certain circumstances, that resales of securities be limited in volume and take place only pursuant
to brokered transactions. Notwithstanding this Section 4(d), Purchaser acknowledges and agrees
to the restrictions set forth in Section 4(e) below.




                                                  -2-
2:22-cv-00546-DCN           Date Filed 03/30/22       Entry Number 11-11          Page 22 of 73




               (e)     Purchaser further understands that in the event all of the applicable
requirements of Rule 144 are not satisfied, registration under the Securities Act, compliance with
Regulation A,or some other registration exemption will be required; and that, notwithstanding the
fact that Rule 144 is not exclusive, the Staff of the Securities and Exchange Commission has
expressed its opinion that persons proposing to sell private placement securities other than in a
registered offering and otherwise than pursuant to Rule 144 will have a substantial burden of proof
in establishing that an exemption from registration is available for such offers or sales, and that
such persons and their respective brokers who participate in such transactions do so at their own
risk.

                       Purchaser represents that Purchaser is not subject to any of the "Bad Actor"
disqualifications described in Rule 506(d)(1)(i) to (viii) under the Securities Act (attached hereto
as Annex I).

                (g)    Purchaser understands that Purchaser may suffer adverse tax consequences
as a result ofPurchaser's purchase or disposition ofthe Shares. Purchaser represents that Purchaser
has consulted any tax consultants Purchaser deems advisable in connection with the purchase or
disposition of the Shares and that Purchaser is not relying on the Company for any tax advice.

       5.      Restrictive Legends and Stop-Transfer Orders.

               (a)     Legends. Any stock certificate or, in the case of uncertificated securities,
any notice of issuance, for the Shares shall bear the following legends (as well as any legends set
forth in the Stockholders Agreement or required by the Company or applicable state and federal
corporate and securities laws):

       THE SECURITIES REFERENCED HEREIN HAVE NOT BEEN REGISTERED UNDER THE
       SECURITIES ACT OF 1933 AND HAVE BEEN ACQUIRED FOR INVESTMENT AND NOT WITH A
       VIEW TO, OR IN CONNECTION WITH, THE SALE OR DISTRIBUTION THEREOF. NO SUCH SALE
       OR DISTRIBUTION MAY BE EFFECTED WITHOUT AN EFFECTIVE REGISTRATION STATEMENT
       RELATED THERETO OR AN OPINION OF COUNSEL IN A FORM SATISFACTORY TO THE
       COMPANY THAT SUCH REGISTRATION IS NOT REQUIRED UNDER THE SECURITIES ACT OF
       1933.

       THE SECURITIES REFERENCED HEREIN ARE SUBJECT TO A CALL OPTION IN ACCORDANCE
       WITH THE TERMS OF AN AGREEMENT BETWEEN THE COMPANY AND THE STOCKHOLDER, A
       COPY OF WHICH IS ON FILE WITH AND MAY BE OBTAINED FROM THE SECRETARY OF THE
       COMPANY AT NO CHARGE.


                (b)    Stop-Transfer Notices. Purchaser agrees that, in order to ensure
compliance with the restrictions referred to herein, the Company may issue appropriate "stop
transfer" instructions to its transfer agent, if any, and that, if the Company transfers its own
securities, it may make appropriate notations to the same effect in its own records.

              (c)      Refusal to Transfer. The Company shall not be required (i) to transfer on
its books any Shares that have been sold or otherwise transferred in violation of any of the
provisions of this Agreement or (ii) to treat as owner of such Shares or to accord the right to vote
or pay dividends to any purchaser or other transferee to whom such Shares shall have been so
transferred.




                                                -3-
2:22-cv-00546-DCN            Date Filed 03/30/22        Entry Number 11-11           Page 23 of 73




       6.      No Em ployment Rights. Nothing in this Agreement shall affect in any manner
whatsoever the right or power ofthe Company,or a parent, Subsidiary or Affiliate ofthe Company,
to terminate Purchaser's employment or consulting relationship, for any reason, with or without
cause.

        7.      Waiver of Statutory Information Rights. Purchaser acknowledges and
understands that, but for the waiver made herein, Purchaser would be entitled, upon written
demand under oath stating the purpose thereof, to inspect for any proper purpose, and to make
copies and extracts from, the Company's stock ledger, a list of its stockholders, and its other books
and records, and the books and records of subsidiaries of the Company, if any, under the
circumstances and in the manner provided in Section 220 of the Delaware General Corporation
Law (any and all such rights, and any and all such other rights of Purchaser as may be provided
for in Section 220, the "Inspection Rights"    ) . In light of the foregoing, until the first sale of
Common Stock of the Company to the general public pursuant to a registration statement filed
with and declared effective by the Securities and Exchange Commission under the Securities Act
of 1933, as amended, Purchaser hereby unconditionally and irrevocably waives the Inspection
Rights, whether such Inspection Rights would be exercised or pursued directly or indirectly
pursuant to Section 220 or otherwise, and covenants and agrees never to directly or indirectly
commence, voluntarily aid in any way, prosecute, assign, transfer, or cause to be commenced any
claim, action, cause of action, or other proceeding to pursue or exercise the Inspection Rights. The
foregoing waiver applies to the Inspection Rights of Purchaser in Purchaser's capacity as a
stockholder and shall not affect any rights of a director, in his or her capacity as such, under Section
220. The foregoing waiver shall not apply to any contractual inspection rights of Purchaser under
any written agreement with the Company.

        8.      Miscellaneous.

              (a)       Governing Law.         The validity, interpretation, construction and
performance of this Agreement, and all acts and transactions pursuant hereto and the rights and
obligations of the parties hereto shall be governed, construed and interpreted in accordance with
the laws of the state of Delaware, without giving effect to principles of conflicts of law.

              (b)      Entire Agreement. This Agreement sets forth the entire agreement and
understanding of the parties relating to the subject matter herein and supersedes all prior or
contemporaneous discussions, understandings and agreements, whether oral or written, between
them relating to the subject matter hereof.

              (c)     Amendments and Waivers. No modification of or amendment to this
Agreement, nor any waiver of any rights under this Agreement, shall be effective unless in writing
signed by the parties to this Agreement. No delay or failure to require performance of any
provision of this Agreement shall constitute a waiver of that provision as to that or any other
instance.

               (d)    Successors and Assigns. Except as otherwise provided in this Agreement,
this Agreement, and the rights and obligations of the parties hereunder, will be binding upon and
inure to the benefit of their respective successors, assigns, heirs, executors, administrators and
legal representatives. The Company may assign any of its rights and obligations under this



                                                  -4-
2:22-cv-00546-DCN           Date Filed 03/30/22        Entry Number 11-11          Page 24 of 73




Agreement. No other party to this Agreement may assign, whether voluntarily or by operation of
law, any of its rights and obligations under this Agreement, except with the prior written consent
of the Company.

               (e)      Notices. Any notice, demand or request required or permitted to be given
under this Agreement shall be in writing and shall be deemed sufficient when delivered personally
or by overnight courier or sent by email, or 48 hours after being deposited in the U.S. mail as
certified or registered mail with postage prepaid, addressed to the party to be notified at such
party's address as set forth on the signature page, as subsequently modified by written notice, or
if no address is specified on the signature page, at the most recent address set forth in the
Company's books and records.

                       Severability. If one or more provisions of this Agreement are held to be
unenforceable under applicable law, the parties agree to renegotiate such provision in good faith.
In the event that the parties cannot reach a mutually agreeable and enforceable replacement for
such provision, then (i) such provision shall be excluded from this Agreement,(ii) the balance of
the Agreement shall be interpreted as if such provision were so excluded and (iii) the balance of
the Agreement shall be enforceable in accordance with its terms.

              (g)      Construction. This Agreement is the result of negotiations between and
has been reviewed by each of the parties hereto and their respective counsel, if any; accordingly,
this Agreement shall be deemed to be the product of all of the parties hereto, and no ambiguity
shall be construed in favor of or against any one of the parties hereto.

              (h)      Counterparts. This Agreement may be executed in any number of
counterparts, each of which when so executed and delivered shall be deemed an original, and all
of which together shall constitute one and the same agreement. Execution of a facsimile copy will
have the same force and effect as execution ofan original, and a facsimile signature will be deemed
an original and valid signature.

              (i)      Electronic Delivery. The Company may, in its sole discretion, decide to
deliver any documents related to this Agreement or any notices required by applicable law or the
Company's Certificate of Incorporation or Bylaws by email or any other electronic means.
Purchaser hereby consents to (i) conduct business electronically (ii) receive such documents and
notices by such electronic delivery and (iii) sign documents electronically and agrees to participate
through an on-line or electronic system established and maintained by the Company or a third
party designated by the Company.



                                    [Signature Page Follows]




                                                -5-
2:22-cv-00546-DCN        Date Filed 03/30/22       Entry Number 11-11         Page 25 of 73




     The parties have executed this Exercise Agreement as of the date first set forth above.

                                                  THE COMPANY:

                                                  PHLOW CORP.

                                                  By:
                                                                  (Signature)

                                                  Name:
                                                  Title:

                                                   Address:




                                                  PURCHASER:


                                                  (PRINT NAME)


                                                  (Signature)

                                                  Address:



                                                  Email:




                                            -6-
 2:22-cv-00546-DCN                 Date Filed 03/30/22             Entry Number 11-11               Page 26 of 73




                                              ANNEX I
 Rule 506(d)(1)(i) to (viii) under the Securities Act of 1933, as amended
(i) Has been convicted, within ten years before such sale (or five years, in the case of issuers, their predecessors and
 affiliated issuers), of any felony or misdemeanor:
          (A)In connection with the purchase or sale of any security;
          (B)Involving the making of any false filing with the Commission; or
          (C)Arising out of the conduct of the business of an underwriter, broker, dealer, municipal securities dealer,
           investment adviser or paid solicitor of purchasers of securities;
(ii) Is subject to any order,judgment or decree of any court of competentjurisdiction, entered within five years before
 such sale, that, at the time of such sale, restrains or enjoins such person from engaging or continuing to engage in any
conduct or practice:
          (A)In connection with the purchase or sale of any security;
          (B)Involving the making of any false filing with the Commission; or
          (C)Arising out of the conduct of the business of an underwriter, broker, dealer, municipal securities dealer,
           investment adviser or paid solicitor of purchasers of securities;
(iii) Is subject to a final order of a state securities commission (or an agency or officer of a state performing like
functions); a state authority that supervises or examines banks, savings associations, or credit unions; a state insurance
commission (or an agency or officer of a state performing like functions); an appropriate federal banking agency; the
 U.S. Commodity Futures Trading Commission; or the National Credit Union Administration that:
          (A)At the time of such sale, bars the person from:
                   (1) Association with an entity regulated by such commission, authority, agency, or officer;
                   (2) Engaging in the business of securities, insurance or banking; or
                   (3) Engaging in savings association or credit union activities; or
         (B) Constitutes a final order based on a violation of any law or regulation that prohibits fraudulent,
          manipulative, or deceptive conduct entered within ten years before such sale;
(iv) Is subject to an order of the Commission entered pursuant to section 15(b) or 15B(c)of the Securities Exchange
 Act of 1934(15 U.S.C. 78o(b)or 78o-4(c)) or section 203(e)or(0 ofthe Investment Advisers Act of 1940(15 U.S.C.
 80b-3(e) or(0)that, at the time of such sale:
         (A) Suspends or revokes such person's registration as a broker, dealer, municipal securities dealer or
          investment adviser;
         (B)Places limitations on the activities, functions or operations of such person; or
         (C)Bars such person from being associated with any entity or from participating in the offering of any penny
          stock;
(v) Is subject to any order of the Commission entered within five years before such sale that, at the time of such sale,
 orders the person to cease and desist from committing or causing a violation or future violation of:
         (A) Any scienter-based anti-fraud provision of the federal securities laws, including without limitation
          section 17(a)(1) ofthe Securities Act of 1933(15 U.S.C. 77q(a)(1)), section 10(b)ofthe Securities Exchange
          Act of 1934 (15 U.S.C. 78j(b)) and 17 CFR 240.10b-5, section 15(c)(1) of the Securities Exchange Act of
          1934(15 U.S.C. 78o(c)(1)) and section 206(1)of the Investment Advisers Act of 1940(15 U.S.C. 80b-6(1)),
          or any other rule or regulation thereunder; or
         (B)Section 5 of the Securities Act of 1933(15 U.S.C. 77e).
(vi) Is suspended or expelled from membership in, or suspended or barred from association with a member of, a
 registered national securities exchange or a registered national or affiliated securities association for any act or
omission to act constituting conduct inconsistent with just and equitable principles of trade;
(vii) Has filed (as a registrant or issuer), or was or was named as an underwriter in, any registration statement or
 Regulation A offering statement filed with the Commission that, within five years before such sale, was the subject of
 a refusal order, stop order, or order suspending the Regulation A exemption, or is, at the time of such sale, the subject
of an investigation or proceeding to determine whether a stop order or suspension order should be issued; or
(viii) Is subject to a United States Postal Service false representation order entered within five years before such sale,
or is, at the time ofsuch sale, subject to a temporary restraining order or preliminary injunction with respect to conduct
alleged by the United States Postal Service to constitute a scheme or device for obtaining money or property through
the mail by means of false representations.
2:22-cv-00546-DCN              Date Filed 03/30/22               Entry Number 11-11              Page 27 of 73




From:             Heidi Dillard
To:               Andrew Stiles
Cc:               Nathan Richards; Mark A. Berman; Kim Daniel
Subject:          Re: A. Stiles - Stock Option Grant Documents
Date:             Monday, December 13, 2021 9:19:55 AM
Attachments:      image001.onq
                  image002.onq
                  image003.Dnq
                  image004.onq
                  image005.Dnq
                  imaae006.onq
                  image007.onq
                  image008,pnq


Andrew,

Thank you so much for your note. We apologize for the slightly delayed response; we were dealing
with other important matters and our board meeting last week.

First and foremost, we do not dispute your time at Phlow nor your stock option grant. Our stance is
that we never received your signed paperwork — did you send it? I also do not believe Nathan
"forgot" to send you documents. As you know from your work with him during the past 19 months,
he is incredibly contentious. I'll circle up with Nathan to discuss updated documents and revert in a
timely manner (as you know, we utilize outside counsel for these tasks). We'll also provide any
necessary payment (probably by wire) instructions, if necessary.

As you know, given our limited staff resources, we need to prioritize our work accordingly. Since, as
you mention, you are still a Phlow employee, we didn't deem your email correspondence as URGENT
and CRITICAL to warrant an IMMEDIATE response. Given your experience and government
contracting expertise, I know you understand that we needed to deal with other critical vendor and
board materials. Unlike when we prioritized getting your daughter enrolled in healthcare after you
missed the enrollment deadline (we dropped everything else to make sure we could get her
coverage).

Have a great day!

Best,

Heidi


From: Andrew Stiles <jandrew.stiles@gmail.com>
Date: Monday, December 13, 2021 at 7:57 AM
To: Heidi Dillard <hdillard@phlow-usa.com>
Cc: Nathan Richards <nrichards@phlow-usa.com>, Mark A. Berman
<mberman@ganfershore.com>, Kim Daniel <kdaniel@hancockdaniel.com>
Subject: Re: A. Stiles - Stock Option Grant Documents

   CAUTION: This email originated from  outside of the organization. Do not follow guidance, click links, or open
                                 attachments unless you know the content is safe.
2:22-cv-00546-DCN          Date Filed 03/30/22         Entry Number 11-11               Page 28 of 73




Heidi/Nathan,

If yall sent any needed documents on Friday, I did not receive them. Please advise. As of today,
December 13, 2021, I am still a Phlow employee. Nathan has worked with all other employees to
handle any needed administrative paperwOrk for the stock option plans. I am sure it is not your
intent to show me disparate treatment.

Thanks,
Andrew

On Thu, Dec 9, 2021 at 2:32 PM Andrew Stiles <jandrew.stilesPgmail.com> wrote:

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            lagiglij_to no
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    Best,

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    From: Andrew Stiles <ja nd rew.sti lesPgmai l.com>
    Date: Wednesday, December 8, 2021 at 4:00 PM
2:22-cv-00546-DCN            Date Filed 03/30/22     Entry Number 11-11          Page 29 of 73




    To: Nathan Richards <n richardsPph low-usa.com>
    Cc: Heidi Dillard <hd i l lardPph low-usa.com>, Mark A. Berman
    <m berma n l@ga nfershore.conn>, Kim Daniel <kda n ielP ha ncockda n iel.com>
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      Nathan Richards




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      ph low-usa.com

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2:22-cv-00546-DCN              Date Filed 03/30/22      Entry Number 11-11        Page 30 of 73




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      Work                Click here to learn what makes our company culture great.
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            USA




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     <m berm a nPga nfershore.com>, Kim Daniel <kda n ieW ha ncockd a n iel.com>
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     Chief Human Resources Officer
     Phlow Corporation

     804.774.0344 (m)



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From:           And rew Stiles
To:             Heidi Dillard
Cc:              Nathan Richards; Mark A, Berman; Kim Daniel
Subject:        Re: A. Stiles - Stock Option Grant Documents
Date:            Monday, December 13, 2021 7:57:15 AM
Attachments:    imacie001.onq
                imacie002,onq
                imaae003.onq
                imacte004.onq
                imacie005.ong
                image006.onq
                image007.onq
                jmage008.onq


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2:22-cv-00546-DCN          Date Filed 03/30/22         Entry Number 11-11           Page 33 of 73




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   Date: Wednesday, December 8, 2021 at 4:00 PM
   To: Nathan Richards <nrichards@phlow-usa.com>
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2:22-cv-00546-DCN               Date Filed 03/30/22      Entry Number 11-11           Page 34 of 73




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    Nathan Richards
    Director of Accounting
    0 804.207.4893

     NI 804.683.5087




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     1 001 Haxal I Point, 7,1 13
     Richmond, VA 23219
     phlow-usa.com,



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    To: Nathan Richards <nrichards@phlow-usa.com>
    Cc: Andrew Stiles <jandrew.stiles@gmail.com>,"Mark A. Berman"
2:22-cv-00546-DCN        Date Filed 03/30/22        Entry Number 11-11          Page 35 of 73




     <mberman@ganfershore.com>, Kim Daniel <kdaniel@hancockdaniel.com>
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     Heidi Dillard

     Chief Human Resources Officer

     Phlow Corporation



     804 774 0344(m)




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     1001 Ilaxail Point, 41B
     Richmond. V A 23210
     phlow-usa,com



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From:           Andrew Stiles
To:             Heidi Dillard
Cc:             Nathan Richards; Mark A. Berman; Kim Daniel
Subject:        Re: A. Stiles - Stock Option Grant Documents
Date:           Thursday, December 9, 2021 2:32:00 PM
Attachments:    imaae001.ong
                imaae002.onq
                imaae003.onq
                imaae004.onq
                imaae005.onq
                image006.onq
                image007.pnq
                image008.Dnq


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 From: Andrew Stiles <jandrew.stiles@gmail,com>
2:22-cv-00546-DCN          Date Filed 03/30/22         Entry Number 11-11            Page 38 of 73




 Date: Wednesday, December 8, 2021 at 4:00 PM
 To: Nathan Richards <nrichards@phlow-usa.com>
 Cc: Heidi Dillard <hdillard@phlow-usa.com>, Mark A. Berman
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 Subject: Re: A. Stiles - Stock Option Grant Documents

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2:22-cv-00546-DCN                Date Filed 03/30/22      Entry Number 11-11         Page 39 of 73




   Nathan Richards
   Director of Accounting
   0 804.207.4893

    VI 804.683.5087




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   1001 Haxall Point. #1B
   Richmond, VA 23219
   phlow-usa.com



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2:22-cv-00546-DCN                Date Filed 03/30/22     Entry Number 11-11          Page 40 of 73




   Please let me know if you have any questions or concerns.


   Best,



   Heidi



   Heidi Dillard

   Chief Human Resources Officer

   Phlow Corporation



   804.774.0344(m)




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   Richmond. VA 2:;21c)
   phlow-usa.com




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From:             Heidi Dillard
To:               And rew Stiles; Nathan Richards
Cc:               Mark A. Berman; Kim Daniel
Subject:          Re: A. Stiles - Stock Option Grant Documents
Date:             Thursday, December 9, 2021 12:56:14 PM
Attachments:      image001.onq
                  image002.onq
                  imaae003.onq
                  imaae004.onq
                  imaae005.onq
                  image006.onq
                  image007.pnq
                  image008.onq


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  0 804.207.4893
  M 804.683.5087



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  1001 Haxall Point, #18
  Richmond, VA 23219
  ph low-usa.com

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         USA




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  Date: Wednesday, December 8, 2021 at 11:45 AM
  To: Nathan Richards <nrichardsPph low-usa.com>
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  Phlow Corporation

  804.774.0344 (m)



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From:            And rew Stile5
To:              prichards phlow-usa.corn
Cc:              J-
                  Ieidi Dillard; Mark A. Berman; Kim Daniel
Subject:         Re: A. Stiles - Stock Option Grant Documents
Date:            Wednesday, December 8, 2021 3:57:31 PM
Attachments:     imane001.onq
                 imane002.onq
                 image003.onq
                 image004.onq
                 image005.pnq
                 imaae006.onq
                 imaae007.onq
                 imaae008.onq
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 0 804.207.4893
2:22-cv-00546-DCN                Date Filed 03/30/22      Entry Number 11-11       Page 45 of 73




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  phlow-usa.com



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  Chief Human Resources Officer

  Phlow Corporation



  804 774 0344(m)




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  I OU Ffaxall Point., B
  Richmond, VA 23219
  phlow-usa.com



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2:22-cv-00546-DCN             Date Filed 03/30/22               Entry Number 11-11   Page 47 of 73




From:            Heidi Dillard
To:              Nathan Richards
Cc:              Andrew Stiles; Mark A. Berman; Kim Daniel
Subject:         Re: A. Stiles - Stock Option Grant Documents
Date:            Wednesday, December 8, 2021 1:12:53 PM
Attachments:     imaae001.onq
                 imaae002.onq
                 imaae003.onq
                 imacie004.onq
                 imaae005.onq
                 image006.onq
                 image007.onq
                 image008.on q


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0 804.207.4893
M 804.683.5087


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1001 Haxall Point, #1B
Richmond. VA 23219
ph low-usa.com

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804.774.0344 (rm



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2:22-cv-00546-DCN                    Date Filed 03/30/22                Entry Number 11-11   Page 50 of 73




From:                   Nathan Richards
To:                     Heidi Dillard
Cc:                     Andrew Stiles; Mark A. Berman Kim Daniel
Subject:                Re: A. Stiles - Stock Option Grant Documents
Date:                   Wednesday, December 8, 2021 1:06:29 PM
Attachments:            image001.onq
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                        Nov 2020 - Amended and Restated - Stock Option-Stilesf31.DOCX


All,

Attached is copy of the grant that was provided on 13 August 2021. No email response or signature
was received.

Best,
Nathan


Nathan Richards
Director of Accounting
0 804.207.4893
M 804.683.5087


COPhlovu
1001 Haxall Point, t#113
Richmond, VA 23219
phlow-usa.com

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From: Heidi Dillard <hdillard@phlow-usa.com>
Date: Wednesday, December 8, 2021 at 11:45 AM
To: Nathan Richards <nrichards@phlow-usa.com>
2:22-cv-00546-DCN                 Date Filed 03/30/22      Entry Number 11-11     Page 51 of 73




Cc: Andrew Stiles <jandrew.stiles@gmail.com>,"Mark A. Berman"
<mberman@ganfershore.com>, Kim Daniel <kdaniel@hancockdaniel.com>
Subject: A. Stiles - Stock Option Grant Documents

Nathan,

Good morning! Per our conversation, please send Andrew his Stock Option Grant that you provided
to him on 13 August 2021. As you know, Andrew didn't respond to your email, nor did he sign the
documents. Once he executes the document, I will be prepared to countersign.

Please let me know if you have any questions or concerns.

Best,

Heidi

Heidi Dillard
Chief Human Resources Officer
Phlow Corporation

804.774.0344 (rM



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2:22-cv-00546-DCN        Date Filed 03/30/22        Entry Number 11-11        Page 52 of 73




                                         PHLOW CORP.

                                   2020 STOCK OPTION PLAN

                                   AMENDED AND RESTATED

                           NOTICE OF STOCK OPTION GRANT

Andrew Stiles
95 Gordon St.
Charleston, SC 29403

        You have been granted an option to purchase Common Stock ofPHLOW CORP., a Delaware
public benefit corporation (the"Company" ) , as follows:

       Date of Grant:                November 2, 2020
       Exercise Price Per Share:     $5.41,subject to Section 5(b) of the Stock Option Agreement*
                                     * You and the Company previously acknowledged that the Fair
                                     Market Value on the Date of Grant was determined by the Board
                                     using a reasonable application of a reasonable valuation
                                     method, and that the Board intended to obtain a third-party
                                     valuation of the Common Stock, valued as of the Date of Grant
                                     for purposes of Code section 409A (the "409A Valuation"     ).
                                     You and the Company agreed that, if the 409A valuation
                                     differed from the Fair Market Value as determined by the
                                     Board, the Company may require that this Agreement be
                                     amended to adjust the Exercise Price Per Share to reflect such
                                     valuation, and in such case, such amendment shall be effective
                                     immediately upon its presentation to you, and you shall be
                                     deemed a party to and bound by such amendment regardless
                                     whether you execute such amendment. This document is to
                                     inform you that 409A Valuation differed from the Fair Market
                                     Value as determined by the Board. Accordingly, the Company
                                     is providing you with an amended Agreement with the updated
                                     exercise price per share.
       Total Number of Shares:       100,000
       Total Exercise Price:         $541,000
2:22-cv-00546-DCN        Date Filed 03/30/22     Entry Number 11-11          Page 53 of 73




      Type of Option:            74,734 Shares Incentive Stock Option**
                                 25,266 Shares Nonstatutory Stock Option**
                                 **maximum number of Shares granted as Incentive Stock
                                 Option as permitted under Code section 422, given Exercise
                                 Price Per Share, Vesting/Exercise Schedule, and any other
                                 Incentive Stock Options you have been granted; remainder
                                 Nonstatutory Stock Option.


     Expiration Date:            November 2, 2030
     Vesting Commencement        September 1, 2020
     Date:
      Vesting/Exercise           So long as your Continuous Service Status does not terminate
      Schedule:                 (and provided that no vesting shall occur following the
                                 Termination Date (as defined in Section 5 of the Stock Option
                                 Agreement)), this Option shall vest and become exercisable in
                                 accordance with the following schedule: this Option shall vest
                                 and become exercisable with respect to twenty-five percent
                                (25%) of the Total Number of Shares on January 1, 2022,and
                                 with respect to six and 25/100 percent (6.25%) the Total
                                 Number of Shares on the first day of each calendar quarter
                                 thereafter.
                                 Notwithstanding the above, if a Corporate Transaction occurs
                                 pursuant to which this Option is to be terminated (in whole or
                                 in part), the vesting and exercisability of this Option shall
                                 accelerate such that this Option shall become vested and
                                 exercisable in full prior to the consummation of the Corporate
                                 Transaction at such time and on such conditions as the
                                 Company shall determine. The Company shall notify Optionee
                                 that this Option will terminate at least 5 days prior to the date
                                 on which this Option terminates.
                                 In addition, if you are party to an employment agreement or
                                 other services agreement with the Company or a Subsidiary or
                                 an Affiliate that provides for accelerated vesting of this Option,
                                 accelerated vesting ofthis Option shall occur in accordance with
                                 such agreement.
     Termination Period:         You may exercise this Option for one hundred twenty (120)
                                 days after the Termination Date except as set out in Section 5 of
                                 the Stock Option Agreement (but in no event later than the
                                 Expiration Date). You are responsible for keeping track ofthese
                                 exercise periods following the Termination Date. The
                                 Company will not provide further notice of such periods.




                                           -2-
2:22-cv-00546-DCN        Date Filed 03/30/22    Entry Number 11-11          Page 54 of 73




      Transferability:           You may not transfer this Option except as set forth in Section 6
                                 of the Stock Option Agreement.

                               [Signature Page Follows]




                                          -3-
2:22-cv-00546-DCN           Date Filed 03/30/22        Entry Number 11-11          Page 55 of 73




        By your signature and the signature ofthe Company's representative or by accepting this grant,
you and the Company agree that this Option is granted under and governed by the terms and conditions
of this Notice and the 2020 Stock Option Plan and Option Agreement, both of which are attached to
and made a part of this Notice.

        In addition, you agree and acknowledge that your rights to any Shares underlying this Option
will vest only as you provide services to the Company over time, that the grant of this Option is not as
consideration for services you rendered to the Company prior to your date of hire, and that nothing in
this Notice or the attached documents confers upon you any right to continue your employment or
consulting relationship with the Company for any period of time, nor does it interfere in any way with
your right or the Company's right to terminate that relationship at any time, for any reason, with or
without cause, subject to Applicable Laws. Also, to the extent applicable, the Exercise Price Per Share
has been set in good faith compliance with the applicable guidance issued by the IRS under
Section 409A of the Code. However, there is no guarantee that the IRS will agree with the valuation,
and by signing below, you agree and acknowledge that the Company, its Board, officers, employees,
agents and stockholders shall not be held liable for any applicable costs, taxes, or penalties associated
with this Option if, in fact, the IRS or any other person (including, without limitation, a successor
corporation or an acquirer in a Change of Control or a Corporate Transaction) were to determine that
this Option constitutes deferred compensation under Section 409A of the Code. You should consult
with your own tax advisor concerning the tax consequences of such a determination by the IRS. For
purposes of this paragraph, the term "Company" will be interpreted to include any Parent, Subsidiary
or Affiliate.

                                                      THE COMPANY:

                                                      PHLOW CORP.

                                                      By:
                                                                      (Signature)

                                                      Name:
                                                      Title:

                                                      OPTIONEE:


                                                      ANDREW STILES


                                                      (Signature)

                                                      Address:

                                                      95 Gordon St.
                                                      Charleston, SC 29403




                                                -4-
 2:22-cv-00546-DCN             Date Filed 03/30/22     Entry Number 11-11         Page 56 of 73




                                         PHLOW CORP.

                                   2020 STOCK OPTION PLAN

                                     OPTION AGREEMENT


         1.     Grant of Option. PHLOW CORP., a Delaware public benefit corporation (the
"Company"), hereby grants to the person(   "Optionee" )named in the Notice of Stock Option Grant
(the"Notice"  ), an option (the"Option")to purchase the total number of shares of Common Stock
(the"Shares"  )set forth in the Notice, at the exercise price per Share set forth in the Notice (the
"Exercise Price"  )subject to the terms, definitions and provisions of the 2020 PHLOW CORP.
 Stock Incentive Plan (the"Plan"  )adopted by the Company, which is incorporated in this Stock
 Option Agreement(this"Agreement"     )by reference. Unless otherwise defined in this Agreement,
 the terms used in this Agreement or the Notice shall have the meanings defined in the Plan.

        2.      Designation of Option. This Option is intended to be an Incentive Stock Option
as defined in Section 422 of the Code only to the extent so designated in the Notice, and to the
extent it is not so designated or to the extent this Option does not qualify as an Incentive Stock
Option, it is intended to be a Nonstatutory Stock Option.

        Notwithstanding the above, if designated as an Incentive Stock Option, in the event that
the Shares subject to this Option (and all other incentive stock options granted to Optionee by the
Company or any Parent or Subsidiary, including under other plans) that first become exercisable
in any calendar year have an aggregate fair market value (determined for each Share as of the date
of grant ofthe option covering such Share)in excess of$100,000,the Shares in excess of$100,000
shall be treated as subject to a nonstatutory stock option, in accordance with Section 5(c) of the
Plan.

        3.      Exercise of Option. This Option shall be exercisable during its term in accordance
with the Vesting/Exercise Schedule set out in the Notice and with the provisions of Section 7(c)
of the Plan as follows:

              (a)      Right to Exercise.

                      (i)       This Option may not be exercised for a fraction of a share.

                       (ii)    In the event of Optionee's death, Disability or other termination of
Continuous Service Status, the exercisability of this Option is governed by Section 5 below,
subject to the limitations contained in this Section 3.

                       (iii)    In no event may this Option be exercised after the Expiration Date
set forth in the Notice.

              (b)      Method of Exercise.

                    (i)     This Option shall be exercisable by execution and delivery of the
Exercise Agreement attached hereto as Exhibit A or of any other form of written notice approved
 2:22-cv-00546-DCN          Date Filed 03/30/22        Entry Number 11-11          Page 57 of 73




for such purpose by the Company which shall state Optionee's election to exercise this Option, the
number of Shares in respect of which this Option is being exercised, and such other representations
and agreements as to the holder's investment intent with respect to such Shares as may be required
by the Company pursuant to the provisions of the Plan. Such written notice shall be signed by
Optionee and shall be delivered to the Company by such means as are determined by the Company
in its discretion to constitute adequate delivery. The written notice shall be accompanied by
payment of the aggregate Exercise Price for the purchased Shares.

                       (ii)     As a condition to the grant, vesting and exercise of this Option and
as further set forth in Section 9 of the Plan, Optionee hereby agrees to make adequate provision
for the satisfaction of(and will indemnify the Company and any Subsidiary or Affiliate for) any
applicable taxes or tax withholdings, social contributions, required deductions, or other payments,
if any(  "Tax-Related Items"  ), which arise upon the grant, vesting or exercise of this Option,
disposition of Shares, receipt of dividends, if any, or otherwise in connection with this Option or
the Shares, whether by withholding, direct payment to the Company, or otherwise as determined
by the Company in its sole discretion. Regardless of any action the Company or any Subsidiary
or Affiliate takes with respect to any or all applicable Tax-Related Items, Optionee acknowledges
and agrees that the ultimate liability for all Tax-Related Items is and remains Optionee's
responsibility and may exceed any amount actually withheld by the Company or any Subsidiary
or Affiliate. Optionee further acknowledges and agrees that Optionee is solely responsible for
filing all relevant documentation that may be required in relation to this Option or any Tax-Related
Items other than filings or documentation that is the specific obligation of the Company or any
Subsidiary or Affiliate pursuant to Applicable Law,such as but not limited to personal income tax
returns or reporting statements in relation to the grant, vesting or exercise of this Option, the
holding of Shares or any bank or brokerage account, the subsequent sale of Shares, and the receipt
of any dividends. Optionee further acknowledges that the Company makes no representations or
undertakings regarding the treatment of any Tax-Related Items and does not commit to and is
under no obligation to structure the terms or any aspect of the Option to reduce or eliminate
Optionee's liability for Tax-Related Items or achieve any particular tax result. Further, if Optionee
has become subject to tax in more than one jurisdiction, Optionee acknowledges that the Company
or any Subsidiary or Affiliate may be required to withhold or account for Tax-Related Items in
more than one jurisdiction.

                       (iii) The Company is not obligated, and will have no liability for failure,
to issue or deliver any Shares upon exercise of this Option unless such issuance or delivery would
comply with the Applicable Laws, with such compliance determined by the Company in
consultation with its legal counsel. Furthermore, Optionee understands that the Applicable Laws
of the country in which Optionee is residing or working at the time of grant, vesting, and/or
exercise of this Option (including any rules or regulations governing securities, foreign exchange,
tax, labor or other matters) may restrict or prevent exercise of this Option. This Option may not
be exercised until such time as the Plan has been approved by the holders of capital stock of the
Company, or if the issuance of such Shares upon such exercise or the method of payment of
consideration for such Shares would constitute a violation of any Applicable Laws, including any
applicable U.S. federal or state securities laws or any other law or regulation, including any rule
under Part 221 of Title 12 of the Code of Federal Regulations as promulgated by the Federal
Reserve Board. As a condition to the exercise of this Option, the Company may require Optionee
to make any representation and warranty to the Company as may be required by the Applicable


                                                -2-
 2:22-cv-00546-DCN          Date Filed 03/30/22       Entry Number 11-11          Page 58 of 73




Laws. Assuming such compliance, for income tax purposes the Shares shall be considered
transferred to Optionee on the date on which this Option is exercised with respect to such Shares.

                      (iv) Subject to compliance with Applicable Laws, this Option shall be
deemed to be exercised upon receipt by the Company of the appropriate written notice of exercise
accompanied by the Exercise Price and the satisfaction of any applicable obligations described in
Section 3(b)(ii) above.

       4.      Method of Payment. Payment of the Exercise Price shall be by cash or check or,
following the initial public offering of the Company's Common Stock, by Cashless Exercise
pursuant to which the Optionee delivers an irrevocable direction to a securities broker (on a form
prescribed by the Company and according to a procedure established by the Company), or by such
other methods allowed by the Plan if permitted in the Company's sole discretion.

        Optionee understands and agrees that, if required by the Company to comply with
Applicable Laws, any cross-border cash remittance made to exercise this Option or transfer
proceeds received upon the sale of Shares must be made through a locally authorized financial
institution or registered foreign exchange agency and may require Optionee to provide to such
entity certain information regarding the transaction. Moreover, Optionee understands and agrees
that the future value of the underlying Shares is unknown and cannot be predicted with certainty
and may decrease in value, even below the Exercise Price. Optionee understands that neither the
Company nor any Subsidiary or Affiliate is responsible for any foreign exchange fluctuation
between local currency and the United States Dollar or the selection by the Company or any
Subsidiary or Affiliate in its sole discretion of an applicable foreign currency exchange rate that
may affect the value of the Option (or the calculation of income or Tax-Related Items thereunder).

        5.     Termination of Relationship. Following the date of termination of Optionee's
Continuous Service Status for any reason (the"Termination Date"      ), Optionee may exercise this
Option only as set forth in the Notice and this Section 5. If Optionee does not exercise this Option
within the Termination Period set forth in the Notice or the termination periods set forth below,
this Option shall terminate in its entirety. In no event, may any Option be exercised after the
Expiration Date of this Option as set forth in the Notice. For the avoidance of doubt and for
purposes of this Option only, termination of Continuous Service Status and the Termination Date
will be deemed to occur as of the date Optionee is no longer actively providing services as an
Employee or Consultant (except to the extent Optionee is on a Company approved leave of
absence) and will not be extended by any notice period or "garden leave" that is required
contractually or under Applicable Laws.

               (a)     Termination for Good Reason or Not for Cause. In the event of
termination of Optionee's Continuous Service Status for Good Reason (as defined below) or by
the Company not for Cause the Option shall become fully vested on the Optionee's Termination
Date and this Option may be exercised by the Optionee within one hundred twenty (120) days
after the date on which the Optionee's Continuous Service terminated, but in any event no later
than the Option Expiration Date. If the Optionee is a party to an employment, Change of Control,
or other service agreement with the Company or a Subsidiary or Affiliate and such agreement
provides for a definition of Good Reason, the definition contained in the agreement shall apply
for purposes of this Section 5(a). In all other cases, Good Reason shall mean:


                                                -3-
 2:22-cv-00546-DCN           Date Filed 03/30/22        Entry Number 11-11          Page 59 of 73




                    (i) a material diminution in Optionee's authority, duties, or responsibilities; or

                  (ii) a material reduction of Optionee's base salary, as the same may have been
 increased from time to time, other than a percentage reduction applicable generally to all or a
 significant number of the Company's employees;

 provided that, in the case of either (i) or (ii), Good Reason shall not be deemed to exist unless the
 circumstances alleged to constitute Good Reason are not remedied by the Company within thirty
(60) days of its receipt of a written notice from the Optionee describing the applicable
 circumstances (which notice must be provided by the Optionee within ninety (90) days of the
 initial occurrence of the applicable circumstances).

                (b)      Termination By Em ployee Without Good Reason. In the event that the
Optionee decides to terminate his Continuous Service Status without Good Reason, Optionee may,
but only within sixty (60) days following the Termination Date, exercise this Option to the extent
Optionee had become vested in the Optioned Stock as of the Termination Date. In such event, the
vested portion of this Option will be exercisable at an increased exercise price equal to the average
of: (i) the price per share of Common Stock in the most recent offering of Common Stock to one
or more investors, as determined by the Company; and (ii) the price per share of Common Stock
under the most recent valuation conducted for purposes of Code section 409A, provided such
valuation is as of a date no more than 12 months prior to the Termination Date. Notwithstanding
the preceding sentence, the exercise price shall in no event be less than the exercise price per Share
set forth in the Notice (as adjusted, if applicable, under Section 9 of the Plan). The Option, to the
extent unvested on the Termination Date, shall lapse.

              (c)     Termination upon Disability of Optionee. In the event of termination of
Optionee's Continuous Service Status as a result of Optionee's Disability (or, if Optionee is party
to an employment agreement with the Company or a Subsidiary of Affiliate, Optionee's
"disability" as defined in such employment agreement), Optionee may, but only within one
hundred twenty (120) days following the Termination Date, exercise this Option to the extent
Optionee had become vested in the Optioned Stock as of the Termination Date.

              (d)       Death of Optionee. In the event of termination of Optionee's Continuous
Service Status as a result of Optionee's death, or in the event of Optionee's death within 3 months
following Optionee's Termination Date, this Option may be exercised at any time within 12
months following the Termination Date, or if later, one hundred twenty (120) days following the
date of death by any beneficiaries designated in accordance with Section 15 of the Plan or, if there
are no such beneficiaries, by the Optionee's estate, or by a person who acquired the right to
exercise the Option by bequest or inheritance, but only to the extent Optionee had become vested
in the Optioned Stock as of the Termination Date.

             (e)     Termination for Cause. In the event of termination of Optionee's
Continuous Service Status for Cause, this Option (including any vested portion thereof) shall
immediately terminate in its entirety upon notification to Optionee of such termination for Cause.
If Optionee's Continuous Service Status is suspended pending an investigation of whether
Optionee's Continuous Service Status will be terminated for Cause, all Optionee's rights under


                                                 -4-
2:22-cv-00546-DCN           Date Filed 03/30/22        Entry Number 11-11          Page 60 of 73




this Option, including the right to exercise this Option, shall be suspended during the investigation
period.

       6.      Non-Transferability of Option; Stockholders Agreement.

      (a)     This Option may not be transferred in any manner otherwise than by will or by the
laws of descent or distribution and may be exercised during the lifetime of Optionee only by him
or her. The terms of this Option shall be binding upon the executors, administrators, heirs,
successors and assigns of Optionee.

       (b)       As a condition precedent to entering into this Agreement, at the request of the
Company, Optionee shall become a party to any stockholders agreement to which the Company is
a party at the time of Optionee's execution and delivery of this Agreement, or to which the holders
of at least 50% of the outstanding shares of Common Stock may become parties after Optionee's
execution and delivery of this Agreement, in each case as such stockholders agreement may be
amended from time to time (the"Stockholders Agreement"      ) ,by executing an adoption agreement
or counterpart signature page agreeing to be bound by and subject to the terms of the Stockholders
Agreement as a "Stockholder," if and as such term may be defined in the Stockholders Agreement.

        7.      Lock-Up Agreement. If so requested by the Company or the underwriters in
connection with the initial public offering of the Company's securities registered under the
Securities Act of 1933, as amended, Optionee shall not sell, make any short sale of, loan, grant
any option for the purchase of, or otherwise dispose of any securities of the Company however or
whenever acquired (except for those being registered) without the prior written consent of the
Company or such underwriters, as the case may be, for 180 days from the effective date of the
registration statement, plus such additional period, to the extent required by FINRA rules, up to a
maximum of 216 days from the effective date of the registration statement, and Optionee shall
execute an agreement reflecting the foregoing as may be requested by the underwriters at the time
of such offering.

        8.     Effect of Agreement. Optionee acknowledges receipt of a copy of the Plan and
represents that he or she is familiar with the terms and provisions thereof (and has had an
opportunity to consult counsel regarding the Option terms), and hereby accepts this Option and
agrees to be bound by its contractual terms as set forth herein and in the Plan. Optionee hereby
agrees to accept as binding, conclusive and final all decisions and interpretations of the
Administrator regarding any questions relating to this Option. In the event of a conflict between
the terms and provisions of the Plan and the terms and provisions ofthe Notice and this Agreement,
the Plan terms and provisions shall prevail.

       9.       Im position of Other Requirements. The Company reserves the right to impose
other requirements on Optionee's participation in the Plan, on the Option and on any Award or
Shares acquired under the Plan, to the extent the Company determines it is necessary or advisable
in order to comply with Applicable Laws or facilitate the administration of the Plan. Optionee
agrees to sign any additional agreements or undertakings that may be necessary to accomplish the
foregoing. Furthermore, Optionee acknowledges that the laws of the country in which Optionee
is working at the time of grant, vesting and exercise of the Option or the sale of Shares received
pursuant to this Agreement (including any rules or regulations governing securities, foreign



                                                -5-
  2:22-cv-00546-DCN          Date Filed 03/30/22        Entry Number 11-11           Page 61 of 73




 exchange, tax, labor, or other matters) may subject Optionee to additional procedural or regulatory
 requirements that Optionee is and will be solely responsible for and must fulfill.

         10.      Electronic Delivery. The Company may, in its sole discretion, decide to deliver
 any documents related to Optionee's current or future participation in the Plan, this Option, the
 Shares subject to this Option, any other Company Securities or any other Company-related
 documents, by electronic means. Optionee hereby (i) consents to receive such documents by
 electronic means,(ii) consents to the use of electronic signatures, and (iii) if applicable, agrees to
 participate in the Plan and/or receive any such documents through an on-line or electronic system
 established and maintained by the Company or a third party designated by the Company. To the
 extent Optionee has been provided with a copy ofthis Agreement,the Plan, or any other documents
 relating to this Option in a language other than English, the English language documents will
 prevail in case of any ambiguities or divergences as a result of translation.

          1 1.    No Acquired Rights. In accepting the Option, Optionee acknowledges that the
 Plan is established voluntarily by the Company, is discretionary in nature, and may be modified,
 amended, suspended or terminated by the Company at any time. The grant of the Option is
 voluntary and occasional and does not create any contractual or other right to receive future grants
 of Options, other Awards or benefits in lieu of Options, even if Options have been granted
 repeatedly in the past, and all decisions with respect to future grants of Options or other Awards,
 if any, will be at the sole discretion of the Company. In addition, Optionee's participation in the
 Plan is voluntary, and the Option and the Shares subject to the Option are extraordinary items that
 do not constitute regular compensation for services rendered to the Company or any Subsidiary or
 Affiliate and are outside the scope of Optionee's employment contract, if any. The Option and the
 Shares subject to the Option are not intended to replace any pension rights or compensation and
 are not part of normal or expected salary or compensation for any purpose, including but not
 limited to calculating severance payments, if any, upon termination.

          12.     Data Privacy. Optionee hereby explicitly and unambiguously consents to the
 collection, use and transfer, in electronic or other form, of Optionee's personal data (as
 described below) by and among, as applicable, the Company and any Subsidiary or Affiliatefor
 the exclusive purpose ofimplementing, administering, and managing Optionee's participation
 in the Plan. Optionee understands that refusal or withdrawal ofconsent may affect Optionee's
 ability to participate in the Plan or to realize benefitsfrom the Option.

        Optionee understands that the Company and any Subsidiary or Affiliate may hold
certain personal information about Optionee, including, but not limited to, Optionee's name,
home address and telephone number, date of birth, social insurance number or other
identification number, salary, nationality,job title, any shares ofstock or directorships held in
the Company or any Subsidiary or Affiliate, details of all Options or any other entitlement to
Shares awarded, canceled, exercised, vested, unvested or outstanding in Optionee's favor
("Personal Data" ). Optionee understands that Personal Data may be transferred to any
Subsidiary or Affiliate or third parties assisting in the implementation, administration and
management ofthe Plan, that these recipients may be located in the United States, Optionee's
country, or elsewhere, and that the recipient's country may have different data privacy laws and
protections than Optionee's country.



                                                  -6-
2:22-cv-00546-DCN          Date Filed 03/30/22       Entry Number 11-11         Page 62 of 73




       13.     Miscellaneous.

              (a)       Governing Law.         The validity, interpretation, construction and
performance of this Agreement, and all acts and transactions pursuant hereto and the rights and
obligations of the parties hereto shall be governed, construed and interpreted in accordance with
the laws of the state of Delaware, without giving effect to principles of conflicts of law.

              (b)      Entire Agreement. This Agreement sets forth the entire agreement and
understanding of the parties relating to the subject matter herein and supersedes all prior or
contemporaneous discussions, understandings and agreements, whether oral or written, between
them relating to the subject matter hereof.

              (c)     Amendments and Waivers. No modification of or amendment to this
Agreement, nor any waiver of any rights under this Agreement, shall be effective unless in writing
signed by the parties to this Agreement. No delay or failure to require performance of any
provision of this Agreement shall constitute a waiver of that provision as to that or any other
instance.

               (d)      Successors and Assigns. Except as otherwise provided in this Agreement,
this Agreement, and the rights and obligations of the parties hereunder, will be binding upon and
inure to the benefit of their respective successors, assigns, heirs, executors, administrators and
legal representatives. The Company may assign any of its rights and obligations under this
Agreement. No other party to this Agreement may assign, whether voluntarily or by operation of
law, any of its rights and obligations under this Agreement, except with the prior written consent
of the Company.

               (e)      Notices. Any notice, demand or request required or permitted to be given
under this Agreement shall be in writing and shall be deemed sufficient when delivered personally
or by overnight courier or sent by email, or 48 hours after being deposited in the U.S. mail as
certified or registered mail with postage prepaid, addressed to the party to be notified at such
party's address as set forth on the signature page, as subsequently modified by written notice, or
if no address is specified on the signature page, at the most recent address set forth in the
Company's books and records.

                       Severability. If one or more provisions of this Agreement are held to be
unenforceable under Applicable Laws,the parties agree to renegotiate such provision in good faith.
In the event that the parties cannot reach a mutually agreeable and enforceable replacement for
such provision, then (i) such provision shall be excluded from this Agreement,(ii) the balance of
the Agreement shall be interpreted as if such provision were so excluded and (iii) the balance of
the Agreement shall be enforceable in accordance with its terms.

              (g)      Construction. This Agreement is the result of negotiations between and
has been reviewed by each of the parties hereto and their respective counsel, if any; accordingly,
this Agreement shall be deemed to be the product of all of the parties hereto, and no ambiguity
shall be construed in favor of or against any one of the parties hereto.

              (h)      Counterparts. This Agreement may be executed in any number of
counterparts, each of which when so executed and delivered shall be deemed an original, and all


                                               -7-
2:22-cv-00546-DCN           Date Filed 03/30/22       Entry Number 11-11          Page 63 of 73




of which together shall constitute one and the same agreement. Execution of a facsimile copy will
have the same force and effect as execution of an original, and a facsimile signature will be deemed
an original and valid signature.




                                                -8-
 2:22-cv-00546-DCN           Date Filed 03/30/22       Entry Number 11-11          Page 64 of 73




                                            EXHIBIT A

                                         PHLOW CORP.

                                  2020 STOCK OPTION PLAN

                                   EXERCISE AGREEMENT


       This Exercise Agreement (this "Agreement"   )is made as of                  , by and
between PHLOW CORP., a Delaware public benefit corporation (the "Company"            ), and
                        ("Purchaser"  ). To the extent any capitalized terms used in this
Agreement are not defined, they shall have the meaning ascribed to them in the PHLOW CORP.
2020 Stock Option Plan (the"Plan" )and the Option Agreement(as defined below).

         1.     Exercise of Option. Subject to the terms and conditions hereof, Purchaser hereby
elects to exercise his or her option to purchase                   shares of the Common Stock (the
"Shares"  )of the Company under and pursuant to the Plan, the Notice of Stock Option Grant and
the Stock Option Agreement granted                   (the"Option Agreement"    ). The purchase price
for the Shares shall be $                per Share for a total purchase price of$              . The
term "Shares" refers to the purchased Shares and all securities received in connection with the
Shares pursuant to stock dividends or splits, all securities received in replacement of the Shares in
a recapitalization, merger, reorganization, exchange or the like, and all new, substituted or
additional securities or other property to which Purchaser is entitled by reason of Purchaser's
ownership of the Shares.

       2.       Time and Place of Exercise. The purchase and sale of the Shares under this
Agreement shall occur at the principal office of the Company simultaneously with the execution
and delivery of this Agreement, the payment of the aggregate exercise price by any method listed
in Section 4 of the Option Agreement, and the satisfaction of any applicable tax, withholding,
required deductions or other payments, all in accordance with the provisions of Section 3(b) ofthe
Option Agreement. The Company shall issue the Shares to Purchaser by entering such Shares in
Purchaser's name as of such date in the books and records ofthe Company or, if applicable, a duly
authorized transfer agent of the Company, against payment of the exercise price therefor by
Purchaser. The Company will deliver to Purchaser a stock certificate or, in the case of
uncertificated securities upon request, a notice of issuance, for the Shares as soon as practicable
following such date.

       3.      Call Option. The Shares are subject to any and all limitations on transfer created
by the transfer restrictions set forth in the Stockholders Agreement and Applicable Law, and
Purchaser shall not assign, encumber or dispose of any interest in the Shares except in compliance
with the provisions thereof. In addition, subject to the terms of this Section, if the Optionee's
employment with the Company terminates or expires for any reason or without reason, the
Company shall have the option (the"Call Option"    ), but not the obligation, to purchase any or all
Shares that(x) are subject to purchase by Optionee pursuant to the Option Agreement on the date
oftermination or expiration of Optionee's employment with the Company and are purchased after
such termination or expiration date or (y) were purchased at any time prior to the termination or
expiration of the Optionee's employment. The purchase price per share of the Call Option shall
 2:22-cv-00546-DCN           Date Filed 03/30/22         Entry Number 11-11          Page 65 of 73




 be the greater of(i) Fair Market Value as of termination of employment,(ii) the purchase price per
 Share set forth in Section 1 of this Agreement, and (iii) the exercise price per share set forth in the
 last incentive stock option, if any, issued by the Company during the three (3) month period
 immediately preceding termination of employment. The purchase price shall be payable in cash
 at closing. The Call Option shall be exercised by written notice by the Company to the Optionee
(the "Call Notice"   )within 90 days after the later of (i) the date of termination or expiration of
 Optionee's employment with the Company or (ii) the date of acquisition by the Optionee of Shares
 that is subject to the Call Option. The closing of the Call Option shall occur within 90 days after
 the date of the Call Notice and shall take place at the Company's principal office. If the Optionee
fails to deliver the Shares identified in the Call Notice duly endorsed for transfer to the Company
 at such closing, then all rights with respect to such Shares, including, without limitation, any right
 to vote or receive dividends with respect to such Shares, shall forthwith after such closing
 terminate, except only the right of the holder to receive the payment described above, without
 interest, upon surrender of their certificate or certificates therefor.

       4.      Investment and Taxation Representations. In connection with the purchase of
the Shares, Purchaser represents to the Company the following:

              (a)      Purchaser is aware of the Company's business affairs and financial
condition and has acquired sufficient information about the Company to reach an informed and
knowledgeable decision to acquire the Shares. Purchaser is purchasing the Shares for investment
for Purchaser's own account only and not with a view to, or for resale in connection with, any
"distribution" thereof within the meaning of the Securities Act or under any applicable provision
of state law. Purchaser does not have any present intention to transfer the Shares to any other
person or entity.

             (b)      Purchaser understands that the Shares have not been registered under the
Securities Act by reason of a specific exemption therefrom, which exemption depends upon,
among other things, the bona fide nature of Purchaser's investment intent as expressed herein.

              (c)      Purchaser further acknowledges and understands that the securities must be
held indefinitely unless they are subsequently registered under the Securities Act or an exemption
from such registration is available. Purchaser further acknowledges and understands that the
Company is under no obligation to register the securities.

               (d)       Purchaser is familiar with the provisions of Rule 144, promulgated under
the Securities Act, which, in substance, permits limited public resale of "restricted securities"
acquired, directly or indirectly,from the issuer of the securities (or from an affiliate ofsuch issuer),
in a non-public offering subject to the satisfaction of certain conditions. Purchaser understands
that the Company provides no assurances as to whether he or she will be able to resell any or all
of the Shares pursuant to Rule 144, which rule requires, among other things, that the Company be
subject to the reporting requirements ofthe Exchange Act, that resales of securities take place only
after the holder of the Shares has held the Shares for certain specified time periods, and under
certain circumstances, that resales of securities be limited in volume and take place only pursuant
to brokered transactions. Notwithstanding this Section 4(d), Purchaser acknowledges and agrees
to the restrictions set forth in Section 4(e) below.




                                                  -2-
2:22-cv-00546-DCN           Date Filed 03/30/22       Entry Number 11-11          Page 66 of 73




               (e)     Purchaser further understands that in the event all of the applicable
requirements of Rule 144 are not satisfied, registration under the Securities Act, compliance with
Regulation A,or some other registration exemption will be required; and that, notwithstanding the
fact that Rule 144 is not exclusive, the Staff of the Securities and Exchange Commission has
expressed its opinion that persons proposing to sell private placement securities other than in a
registered offering and otherwise than pursuant to Rule 144 will have a substantial burden of proof
in establishing that an exemption from registration is available for such offers or sales, and that
such persons and their respective brokers who participate in such transactions do so at their own
risk.

                       Purchaser represents that Purchaser is not subject to any of the "Bad Actor"
disqualifications described in Rule 506(d)(1)(i) to (viii) under the Securities Act (attached hereto
as Annex I).

                (g)    Purchaser understands that Purchaser may suffer adverse tax consequences
as a result ofPurchaser's purchase or disposition ofthe Shares. Purchaser represents that Purchaser
has consulted any tax consultants Purchaser deems advisable in connection with the purchase or
disposition of the Shares and that Purchaser is not relying on the Company for any tax advice.

       5.      Restrictive Legends and Stop-Transfer Orders.

               (a)     Legends. Any stock certificate or, in the case of uncertificated securities,
any notice of issuance, for the Shares shall bear the following legends (as well as any legends set
forth in the Stockholders Agreement or required by the Company or applicable state and federal
corporate and securities laws):

       THE SECURITIES REFERENCED HEREIN HAVE NOT BEEN REGISTERED UNDER THE
       SECURITIES ACT OF 1933 AND HAVE BEEN ACQUIRED FOR INVESTMENT AND NOT WITH A
       VIEW TO, OR IN CONNECTION WITH, THE SALE OR DISTRIBUTION THEREOF. NO SUCH SALE
       OR DISTRIBUTION MAY BE EFFECTED WITHOUT AN EFFECTIVE REGISTRATION STATEMENT
       RELATED THERETO OR AN OPINION OF COUNSEL IN A FORM SATISFACTORY TO THE
       COMPANY THAT SUCH REGISTRATION IS NOT REQUIRED UNDER THE SECURITIES ACT OF
       1933.

       THE SECURITIES REFERENCED HEREIN ARE SUBJECT TO A CALL OPTION IN ACCORDANCE
       WITH THE TERMS OF AN AGREEMENT BETWEEN THE COMPANY AND THE STOCKHOLDER, A
       COPY OF WHICH IS ON FILE WITH AND MAY BE OBTAINED FROM THE SECRETARY OF THE
       COMPANY AT NO CHARGE.


                (b)    Stop-Transfer Notices. Purchaser agrees that, in order to ensure
compliance with the restrictions referred to herein, the Company may issue appropriate "stop
transfer" instructions to its transfer agent, if any, and that, if the Company transfers its own
securities, it may make appropriate notations to the same effect in its own records.

              (c)      Refusal to Transfer. The Company shall not be required (i) to transfer on
its books any Shares that have been sold or otherwise transferred in violation of any of the
provisions of this Agreement or (ii) to treat as owner of such Shares or to accord the right to vote
or pay dividends to any purchaser or other transferee to whom such Shares shall have been so
transferred.




                                                -3-
2:22-cv-00546-DCN            Date Filed 03/30/22        Entry Number 11-11          Page 67 of 73




        6.     No Em ployment Rights. Nothing in this Agreement shall affect in any manner
whatsoever the right or power ofthe Company,or a parent, Subsidiary or Affiliate ofthe Company,
to terminate Purchaser's employment or consulting relationship, for any reason, with or without
cause.

        7.      Waiver of Statutory Information Rights. Purchaser acknowledges and
understands that, but for the waiver made herein, Purchaser would be entitled, upon written
demand under oath stating the purpose thereof, to inspect for any proper purpose, and to make
copies and extracts from,the Company's stock ledger, a list of its stockholders, and its other books
and records, and the books and records of subsidiaries of the Company, if any, under the
circumstances and in the manner provided in Section 220 of the Delaware General Corporation
Law (any and all such rights, and any and all such other rights of Purchaser as may be provided
for in Section 220, the "Inspection Rights"    ). In light of the foregoing, until the first sale of
Common Stock of the Company to the general public pursuant to a registration statement filed
with and declared effective by the Securities and Exchange Commission under the Securities Act
of 1933, as amended, Purchaser hereby unconditionally and irrevocably waives the Inspection
Rights, whether such Inspection Rights would be exercised or pursued directly or indirectly
pursuant to Section 220 or otherwise, and covenants and agrees never to directly or indirectly
commence, voluntarily aid in any way, prosecute, assign, transfer, or cause to be commenced any
claim, action, cause of action, or other proceeding to pursue or exercise the Inspection Rights. The
foregoing waiver applies to the Inspection Rights of Purchaser in Purchaser's capacity as a
stockholder and shall not affect any rights ofa director, in his or her capacity as such, under Section
220. The foregoing waiver shall not apply to any contractual inspection rights of Purchaser under
any written agreement with the Company.

       8.       Miscellaneous.

              (a)       Governing Law.         The validity, interpretation, construction and
performance of this Agreement, and all acts and transactions pursuant hereto and the rights and
obligations of the parties hereto shall be governed, construed and interpreted in accordance with
the laws of the state of Delaware, without giving effect to principles of conflicts of law.

              (b)      Entire Agreement. This Agreement sets forth the entire agreement and
understanding of the parties relating to the subject matter herein and supersedes all prior or
contemporaneous discussions, understandings and agreements, whether oral or written, between
them relating to the subject matter hereof.

              (c)     Amendments and Waivers. No modification of or amendment to this
Agreement, nor any waiver of any rights under this Agreement, shall be effective unless in writing
signed by the parties to this Agreement. No delay or failure to require performance of any
provision of this Agreement shall constitute a waiver of that provision as to that or any other
instance.

               (d)    Successors and Assigns. Except as otherwise provided in this Agreement,
this Agreement, and the rights and obligations of the parties hereunder, will be binding upon and
inure to the benefit of their respective successors, assigns, heirs, executors, administrators and
legal representatives. The Company may assign any of its rights and obligations under this



                                                 -4-
2:22-cv-00546-DCN           Date Filed 03/30/22        Entry Number 11-11          Page 68 of 73




Agreement. No other party to this Agreement may assign, whether voluntarily or by operation of
law, any of its rights and obligations under this Agreement, except with the prior written consent
of the Company.

               (e)      Notices. Any notice, demand or request required or permitted to be given
under this Agreement shall be in writing and shall be deemed sufficient when delivered personally
or by overnight courier or sent by email, or 48 hours after being deposited in the U.S. mail as
certified or registered mail with postage prepaid, addressed to the party to be notified at such
party's address as set forth on the signature page, as subsequently modified by written notice, or
if no address is specified on the signature page, at the most recent address set forth in the
Company's books and records.

                       Severability. If one or more provisions of this Agreement are held to be
unenforceable under applicable law, the parties agree to renegotiate such provision in good faith.
In the event that the parties cannot reach a mutually agreeable and enforceable replacement for
such provision, then (i) such provision shall be excluded from this Agreement,(ii) the balance of
the Agreement shall be interpreted as if such provision were so excluded and (iii) the balance of
the Agreement shall be enforceable in accordance with its terms.

              (g)      Construction. This Agreement is the result of negotiations between and
has been reviewed by each of the parties hereto and their respective counsel, if any; accordingly,
this Agreement shall be deemed to be the product of all of the parties hereto, and no ambiguity
shall be construed in favor of or against any one of the parties hereto.

              (h)      Counterparts. This Agreement may be executed in any number of
counterparts, each of which when so executed and delivered shall be deemed an original, and all
of which together shall constitute one and the same agreement. Execution of a facsimile copy will
have the same force and effect as execution ofan original, and a facsimile signature will be deemed
an original and valid signature.

              (i)      Electronic Delivery. The Company may, in its sole discretion, decide to
deliver any documents related to this Agreement or any notices required by applicable law or the
Company's Certificate of Incorporation or Bylaws by email or any other electronic means.
Purchaser hereby consents to (i) conduct business electronically (ii) receive such documents and
notices by such electronic delivery and (iii) sign documents electronically and agrees to participate
through an on-line or electronic system established and maintained by the Company or a third
party designated by the Company.



                                    [Signature Page Follows]




                                                -5-
2:22-cv-00546-DCN        Date Filed 03/30/22       Entry Number 11-11         Page 69 of 73




     The parties have executed this Exercise Agreement as of the date first set forth above.

                                                   THE COMPANY:

                                                  PHLOW CORP.

                                                   By:
                                                                  (Signature)

                                                  Name:
                                                  Title:

                                                   Address:




                                                  PURCHASER:


                                                  (PRINT NAME)


                                                  (Signature)

                                                  Address:



                                                  Email:




                                            -6-
  2:22-cv-00546-DCN                Date Filed 03/30/22             Entry Number 11-11                Page 70 of 73




                                               ANNEX I
 Rule 506(d)(1)(i) to (viii) under the Securities Act of 1933, as amended
 in Has been convicted, within ten years before such sale (or five years, in the case of issuers, their predecessors and
 affiliated issuers), of any felony or misdemeanor:
          (A)In connection with the purchase or sale of any security;
          (B)Involving the making of any false filing with the Commission; or
          (C)Arising out of the conduct of the business of an underwriter, broker, dealer, municipal securities dealer,
           investment adviser or paid solicitor of purchasers Of securities;
(ii) Is subject to any order,judgment or decree of any court ofcompetent jurisdiction, entered within five years before
 such sale, that, at the time of such sale, restrains or enjoins such person from engaging or continuing to engage in any
 conduct or practice:
          (A)In connection with the purchase or sale of any security;
          (B)Involving the making of any false filing with the Commission; or
          (C)Arising out of the conduct of the business of an underwriter, broker, dealer, municipal securities dealer,
           investment adviser or paid solicitor of purchasers of securities;
(iii) Is subject to a final order of a state securities commission (or an agency or officer of a state performing like
functions); a state authority that supervises or examines banks, savings associations, or credit unions; a state insurance
commission (or an agency or officer of a state performing like functions); an appropriate federal banking agency; the
 U.S. Commodity Futures Trading Commission; or the National Credit Union Administration that:
          (A)At the time of such sale, bars the person from:
                   (1) Association with an entity regulated by such commission, authority, agency, or officer;
                   (2) Engaging in the business of securities, insurance or banking; or
                   (3)Engaging in savings association or credit union activities; or
         (B) Constitutes a final order based on a violation of any law or regulation that prohibits fraudulent,
          manipulative, or deceptive conduct entered within ten years before such sale;
(iv) Is subject to an order of the Commission entered pursuant to section 15(b) or 15B(c) of the Securities Exchange
 Act of 1934(15 U.S.C. 78o(b)or 78o-4(c)) or section 203(e)or (f)ofthe Investment Advisers Act of 1940(15 U.S.C.
 80b-3(e) or (f)) that, at the time of such sale:
         (A) Suspends or revokes such person's registration as a broker, dealer, municipal securities dealer or
          investment adviser;
         (B)Places limitations on the activities, functions or operations of such person; or
         (C)Bars such person from being associated with any entity or from participating in the offering of any penny
          stock;
(v) Is subject to any order of the Commission entered within five years before such sale that, at the time of such sale,
orders the person to cease and desist from committing or causing a violation or future violation of:
         (A) Any scienter-based anti-fraud provision of the federal securities laws, including without limitation
          section 17(a)(1)ofthe Securities Act of 1933(15 U.S.C. 77q(a)(l)), section 10(b)ofthe Securities Exchange
          Act of 1934(15 U.S.C. 78j(b)) and 17 CFR 240.10b-5, section 15(c)(1) of the Securities Exchange Act of
          1934(15 U.S.C. 78o(c)(1)) and section 206(1)of the Investment Advisers Act of 1940(15 U.S.C. 80b-6(1)),
          or any other rule or regulation thereunder; or
         (B)Section 5 of the Securities Act of 1933(15 U.S.C. 77e).
(vi) Is suspended or expelled from membership in, or suspended or barred from association with a member of, a
 registered national securities exchange or a registered national or affiliated securities association for any act or
omission to act constituting conduct inconsistent with just and equitable principles of trade;
(vii) Has filed (as a registrant or issuer), or was or was named as an underwriter in, any registration statement or
 Regulation A offering statement filed with the Commission that, within five years before such sale, was the subject of
 a refusal order, stop order, or order suspending the Regulation A exemption, or is, at the time of such sale, the subject
 of an investigation or proceeding to determine whether a stop order or suspension order should be issued; or
(viii) Is subject to a United States Postal Service false representation order entered within five years before such sale,
 or is, at the time ofsuch sale, subject to a temporary restraining order or preliminary injunction with respect to conduct
 alleged by the United States Postal Service to constitute a scheme or device for obtaining money or property through
 the mail by means of false representations.
2:22-cv-00546-DCN                   Date Filed 03/30/22            Entry Number 11-11   Page 71 of 73




From:                  Heidi Dillard
To:                    Nathan Richards
Cc:                    Andrew Stiles; Mark A. Berman; Kim Daniel
Subject:               A. Stiles - Stock Option Grant Documents
Date:                  Wednesday, December 8, 2021 11:45:13 AM
Attachments:           imaae001.onq
                       jmaae002.onq
                       imaae003,onq
                       imaae004.ong


Nathan,

Good morning! Per our conversation, please send Andrew his Stock Option Grant that you provided
to him on 13 August 2021. As you know, Andrew didn't respond to your email, nor did he sign the
documents. Once he executes the document, I will be prepared to countersign.

Please let me know if you have any questions or concerns.

Best,

Heidi

Heidi Dillard
Chief Human Resources Officer
Phlow Corporation

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 Place               We're Great Place to Work CertifiedTM!
 To
 Work                Click here to learn what makes our company culture great.
 Certified
 NOV 2020-NOV 2021
2:22-cv-00546-DCN                Date Filed 03/30/22               Entry Number 11-11   Page 72 of 73




 From:              Heidi Dillard
 To:                Andrew Stiles
 Cc:                Mark Berman; Kim Daniel
 Subject:           Re: Stiles - Exercising Vested Stock Options
 Date:              Wednesday, December 8, 2021 11:40:54 AM


Andrew,

Good morning. I hope you are having a great day!

I've dug in a little and it seems that we do not have your signed Amended and Restated Notice of
Stock Option Grant document that Nathan sent to you on August 13, 2021. I've asked him to resend
the document to you since we'll need it to exercise any of your vested options. I'll send a separate
email to him with you in copy giving him direction. Once we get your signed document, I'll counter-
sign and we'll work on next steps.

Best,

Heidi



From: Heidi Dillard <hdillard@phlow-usa.com>
Date: Monday, December 6, 2021 at 9:12 AM
To: Andrew Stiles <jandrew.stiles@gmail.com>
Cc: Mark Berman <mberman@ganfershore.com>, Kim Daniel <kdaniel@hancockdaniel.com>
Subject: Re: Stiles - Exercising Vested Stock Options

Andrew,

Good morning! I hope you and yours had a good Thanksgiving. I'm glad to hear that we were able
to enroll your daughter into our healthcare plan even though you missed the enrollment deadline by
a few weeks. Sarah pulled in a few favors for you!

Thank you so much for your note. I will look into your request below and verify the quantum vested
and other pertinent information and revert.

Have a great day!

Best,

Heidi


From: Andrew Stiles <jandrew.stiles@gmail.com>
Date: Friday, December 3, 2021 at 3:44 PM
To: Heidi Di l lard <hdillard@phlow-usa.com>
2:22-cv-00546-DCN             Date Filed 03/30/22             Entry Number 11-11                Page 73 of 73




Cc: Mark Berman <mberman@ganfershore.com>
Subject: Stiles - Exercising Vested Stock Options

   CAUTION: This email originated from outside of the organization. Do not follow guidance, click links, or open
                               attachments unless you know the content is safe.

H i Heidi,

As December 16th approaches without a termination/separation agreement in place, I would like to
go ahead and exercise my currently vested stock options...which should be 31,250 options (25,000
vested 9/1/21 and 6,250 vested 12/1/21) at the exercise price of $5.41. Will you please have Phlow
Finance/Accounting draft up the Exercise Agreement as I no longer have access to the template and
advise on payment instructions.

Thanks,
Andrew
